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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

 HARDBALL BASEBALL ACADEMY,                        §
 LLC.,                                             §
                                                   §
          Plaintiff,                               §
                                                   §
 v.                                                §                          4:22-cv-01181
                                                            CIVIL ACTION NO. ____________
                                                   §
 CAMERON JOHNSON                                   §
                                                   §
          Defendant.                               §
                                                   §


                             PLAINTIFF’S NOTICE OF REMOVAL

        Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, Plaintiff Hardball Baseball Academy, LLC

(“Hardball” or “Plaintiff”) removes Cause No. 2022-08824; Hardball Baseball Academy, LLC. v.

Cameron Johnson; from the 61st Judicial District Court of Harris County, Texas to the United States

District Court for the Southern District of Texas, Houston Division.

                             I. SUMMARY OF GROUNDS FOR REMOVAL

         1.        Removal is appropriate under 28 U.S.C. §§ 1331 and 1441. On April 7, 2022,

Defendant in the above-referenced lawsuit filed counterclaims pursuant to the Fair Labor

Standards Act, 29 U.S.C. §§ 201-219. As such, this District Court has original jurisdiction over

this civil matter because it arises under the Constitution, laws, or treaties of the United States.

                          II. PROCEDURAL REQUIREMENTS FOR REMOVAL

         2.        On April 7, 2022, Cameron Johnson (“Defendant”) filed his First Amended

Original Answer and Counterclaims against Plaintiff. Plaintiff was served with the answer on or

about April 7, 2022. Accordingly, this Notice of Removal is timely. See 28 U.S.C. § 1446.




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         3.        Venue lies in this Court because this case was pending in the District Court of

Harris County, Texas, and this Court is the “district court of the United States for the district and

division embracing the place where the action is pending.” See 28 U.S.C. § 1441(a).

         4.        Plaintiff will promptly serve notice and a copy of this Notice of Removal with the

Clerk of Harris County, Texas, as required by 28 U.S.C. § 1446(d).

         5.        Attached to this Notice of Removal are the documents required by Local Rule

81.

                                    III. CONCLUSION AND PRAYER

         WHEREFORE, Plaintiff hereby provides notice that this action has been properly and

immediately removed, pursuant to 28 U.S.C. §§ 1331, 1441, and 1446. Plaintiff respectfully

requests this Court exercise and maintain its jurisdiction over this case.


                                                        Respectfully submitted,

                                                        GRAY REED & McGRAW LLP


                                                        By: /s/ Jay Aldis
                                                        Jay Aldis
                                                        Texas State Bar No. 00785656
                                                        1300 Post Oak Blvd., Suite 2000
                                                        Houston, Texas 77056
                                                        Telephone:     (713) 986-7175
                                                        Fax: (713) 986-7100
                                                        jaldis@grayreed.com

                                                        Attorney for Plaintiff
                                                        Hardball Baseball Academy, LLC




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                                   CERTIFICATE OF SERVICE

         I hereby certify that on the 12th day of April 2022, a copy of the foregoing document was

served on counsel of record by the Court’s electronic filing system.



                                                     /s/ Jay Aldis
                                                        Jay Aldis




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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

 HARDBALL BASEBALL ACADEMY,                            §
 LLC.,                                                 §
                                                       §
          Plaintiff,                                   §
                                                       §
 v.                                                    §        CIVIL ACTION NO. 4:22-cv-01181
                                                                                 ____________
                                                       §
 CAMERON JOHNSON                                       §
                                                       §
          Defendant.                                   §
                                                       §


                                        INDEX OF MATTERS

         Pursuant to 28 U.S.C. § 1447(b) and Local Rule 81, Plaintiff files this Index of Matters (the

“Index”) – Cause No. 2022-08824, Hardball Baseball Academy, LLC. v. Cameron Johnson; from the 61st

Judicial District Court of Harris County (the “State Court Action”).

         Accordingly, attached to this Index are the following:

         Exhibit A:      Pleadings Asserting Causes of Action Filed in the State Court Action

                             •   Plaintiff’s Original Petition
                             •   Temporary Restraining Order
                             •   Defendant’s Original Answer
                             •   Orders for Temporary Injunction Hearing
                             •   Orders Setting Hearings
                             •   Docket Control Order
                             •   Certificates of Written Discovery
                             •   Defendant’s First Amended Answer

         Exhibit B:      The Docket Sheet in the State Court Action


         Exhibit C:      List of All Counsel of Record




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                                           Respectfully submitted,

                                           GRAY REED & McGRAW LLP


                                           By: /s/ Jay Aldis
                                           Jay Aldis
                                           Texas State Bar No. 00785656
                                           1300 Post Oak Blvd., Suite 2000
                                           Houston, Texas 77056
                                           Telephone:     (713) 986-7175
                                           Fax: (713) 986-7100
                                           jaldis@grayreed.com

                                           Attorney for Plaintiff
                                           Hardball Baseball Academy, LLC




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                                   CERTIFICATE OF SERVICE

         I hereby certify that on the 12th day of April 2022, a copy of the foregoing document was

served on counsel of record by the Court’s electronic filing system.



                                                   /s/ Jay Aldis
                                                      Jay Aldis




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                               EXHIBIT A




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                                                                                  Marilyn Burgess - District Clerk Harris County
                                                                                                       Envelope No. 61687102
                                                                                                            By: Maria Rodriguez
                                                                                                      Filed: 2/11/2022 4:22 PM


                                     CASE NO..



HARDBALL BASEBALL ACADEMY                               § IN THE DISTMCT COURT OF
LLC,                                                    §
                                                        §
                       Plaintiff,                       §
                                                        § HARRIS COUNTY, TEXAS
V.                                                      §
                                                        §
CAMERON JOHNSON,                                        §
                                                        §
                        Defendant.                                        JUDICIAL DISTRICT



                   PLAINTIFF'S ORIGINAL^ PETITION
     AND VEMFIED APPLICATION FOR TEMPORARY RESTRAINING ORDER,
          TEMPORARY INJUNCTION AND PERMANENT INJUNCTION

            Plaintiff Hardball Baseball Academy LLC ("Hardball") files this Original Petition and

Application for Temporary Restraining Order, Temporary Injunction and Permanent Injunction


against Defendant Cameron Johnson ("Johnson"). In support of its Petition and Application,


Hardball respectfully shows the following:


                                       DISCOVERY AND DAMAGES

            Hardball requests that discovery in this matter be conducted at Level 2, pursuant to


Texas Rule of Civil Procedure 190.3. Hardball seeks monetary relief of $250,000 or less and


non-monetary relief.


                                        JURISDICTION AND VENUE

            1. This Court has jurisdiction over this action because the amount in controversy


is in excess of the minimum jurisdictional amount.


            2. Venue is proper in Harris County, Texas because Johnson resides in Harris County


and a substantial part of the events giving rise to this action occurred in Harris County.
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                                              PARTIES

            3. Hardball is a Texas small business corporation with its principal place of business at


1900 Jillian Terrace, Friendswood, Texas 77546.


           4. Johnson is an individual residing in Harris County. He may be served with process


at his residence, 444 East Medical Center Blvd., Apt. 1008, Webster, Texas 77598.


                          INTRODUCTION AND SUMMARY OF FACTS

            5. Hardball is in its 25 year as a baseball academy. It has had facilities in Dicldnson


and Pearland and has also started construction on another location in Friendswood. Defendant Johnson


worked for Hardball as a baseball instructor and coach, primarily at the facility in Dickinson.


Throughout the time he worked at Hardball, Johnson was provided access to confidential information,


including clients' e-mails, phone numbers and GroupMe chats, pricing, the structure of lessons, class


curricula, and player profiles. To protect this information, Hardball had its personnel, including


Johnson, sign Employment, Non-Compete and Non-Disclosure Agreements in 2020. The Agreements


prohibited the staff from divulging or disclosing Hardball's confidential information, engaging in a


competitive business within a 30-mile radius, and soliciting customers to provide the same or similar


products or services provided by Hardball. In December 2021, just as player tryouts were to take place


for the 2022 season, Johnson informed Hardball he did not want to coach teams any more. To limit


the damage such an announcement would undoubtedly have on Johnson's team, Hardball told him to


not yet tell them of his decision. However, Johnson disobeyed that directive and announced he would


not be coaching in 2022. As a result, the 16U Hardball team disbanded. Then, to add insult to injury,


Johnson informed Hardball he was leaving altogether and would be competing within the 30-mile


radius referenced in the Non-Compete Agreement. Therefore, Hardball requests that Johnson be


restrained from using its information, competing against it within the prohibited 30-mile area, and


soliciting its customers to provide them the very same services Hardball has provided them for years.

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                                       FACTUAL BACKGROUND

          6. Hardball is in its 25th year of providing baseball instruction in Brazoria, Galveston and


Harris Counties. Its first location was in Dickinson. After expanding that facility twice, Hardball


found another spot in Pearland and is currently starting construction on an 18,000 square foot location


in Friendswood.


          7. Johnson served as a team coach and instructor at Hardball for several years. On January


1, 2020, he entered into an Employment Agreement and a Non-Compete Agreement. See Agreements


attached as Exhibit A. Section 4 of the Non-Compete Agreement stated:


          Cameron Johnson will not at any time or in any manner, either directly or indirectly,
          use for the personal benefit of Cameron Johnson or divulge, disclose, or communicate
          in any manner any information that is proprietary to Hardball Academy LLC. ... The
          obligation of Cameron Johnson not to disclose confidential information shall continue
          for a period of 5 years after the effective date of this agreement.


          8. Sections 1 and 2 of the Non-Compete Agreement and Section 8 of the Employment


Agreement contained non-compete and non-solicitation covenants. The Non-Compete Agreement


stated:


          During employment and for a period of 3 years after the separation of employment for
          any reason Cameron Johnson will not directly or indirectly engage in any business that
          competes with Hardball Academy LLC.


          This covenant shall apply to the geographical area that includes the area within a 30-
          mile radius of any existing Hardball Academy facility or facilities that will be
          owned/operated/built during the time of employment.


          Directly or indirectly engaging in any competitive business includes but is not limited
          to: (i) engaging in a business as an owner, partner, or agent (ii) becoming an employee
          of any third party engaged in such business (iii) becoming interested in any such
          business either directly or indirectly or (iv) soliciting any customer of Hardball
          Academy LLC for the benefit of self-employment or the benefits of a third party
          engaged in such business. Cameron Johnson agrees that this non-compete will not
          adversely affect their livelihood.


          For a period of 3 years after the effective date of this agreement Cameron Johnson will
          not directly or indirectly solicit business from, or attempt to sell, license, or provide the
          same or similar products or services as are now provided to, any customer or client of

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         Hardball LLC, nor shall Cameron Johnson use Hardball Academy's existing or any
         client during the course of employments demographic and confidential information to
         solicit and provide quotes and or transfer business to any competing entity. Further,
         for a period of 3 years after the effective date of this agreement Cameron Johnson will
         not directly or indirectly solicit, induce or attempt to induce any employee of Hardball
         Academy LLC to terminate his or her employment with Hardball Academy LLC.


         Similarly, the Employment Agreement stated that Johnson would have information regarding


Hardball's processes, trade secrets, customer lists, prices, costs, discounts, business affairs and future


plans; Johnson would not divulge, disclose or communicate such information to any third party


without Hardball's prior written consent; and in consideration of the disclosure of the information,


Johnson agreed that for three years following the termination of is employment he would not, within


a 30-mile radius of current or future facilities ofHardball that were acquired during his employment,


directly or indirectly:

         (i) engage in a business as an owner, partner, or agent, (ii) become an employee of any
         third party engaged in such business, (iii) become interested directly or indirectly in
         any such business, or (iv) solicit any customer of Hardball Academy LLC for the
         benefit of a third party that is engaged in such a business.


         9. In Section 7 of the Non-Compete Agreement, Johnson agreed that if he violated its


terms, irreparable harm would occur and money damages would be insufficient to compensate


Hardball. As a result, Johnson acknowledged that Hardball would be entitled to seek injunctive relief


requiring him to comply with the agreement.


         10. On January 1, 2020, Hardball and Johnson also entered into a Non-Disclosure


Agreement. See Agreement attached as Exhibit B. Pursuant to that Agreement, Johnson promised to


protect Hardball's Confidential Information by not disclosing, copying or modifying it.


          11. Hardball's baseball teams compete from June to November. Then, in December and


January, Hardball conducts tryouts for the next season. In late November or early December 2021,


Johnson approached Hardball's owner, Richie Beard, and told him he did not want to coach teams


anymore and was going to leave Hardball. Beard instructed Johnson to not tell anyone on his 16U

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Elite team that we was no longer going to coach so the Academy could get through tryouts and identify


a new coach. However, Johnson disobeyed that order and told the team of his decision. As a result,


the team blew up and Hardball does not have a 16U team for 2022.


         12. On December 31, 2021, Johnson had his exit interview with Beard. When presented


with a form acknowledging his Non-Compete and Non-Disclosure Agreements, Johnson refused to


sign. Beard then reminded Johnson of his obligations and Johnson said:


         I understand that if I coach anybody who's been in one of your buildings, then I have
         legal ramifications and I'm man enough to accept those responsibilities. ... I know that
         me leaving and coaching baseball outside ofHardball, I know that it hurts your business.


         13. Beard then asked Johnson to honor his contractual commitments and Johnson


responded, "If they call me, I have a relationship with them. I'm not going to turn them away." Beard


remarked that such conduct would be a violation of the contract and Johnson stated, "I understand."


Beard again implored Johnson to abide by the contracts but Johnson defiantly said, "Go ahead and


have your attorney start the process."


         14. Recently, Hardball has discovered that Johnson is working and providing baseball


instruction at 3K Sports in Pasadena. The 3K Sports facility is within 30 miles of each ofHardball's

locations.


         15. In February, Hardball has also been informed that Johnson is opening a significant


baseball facility in Dickinson, which is within 30 miles ofHardball's locations.


                                PLAINTIFF'S CAUSES OF ACTION

                                  Count One: Breach of Contract


          16. Johnson signed a Non-Compete Agreement with Hardball. In the Agreement, Johnson


promised he would not use for his personal benefit or divulge, disclose, or communicate in any manner


any information that is proprietary to Hardball. Johnson also agreed he would not directly or indirectly


engage in any business that competes with Hardball nor would he directly or indirectly solicit business

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from, or attempt to sell, license, or provide the same or similar products or services as are now provided


to, any customer or client ofHardball.


            17. Johnson's Agreement was supported by good and valuable consideration.


            18. Through his conduct, Johnson is willfully and intentionally breaching, and will


continue to breach, his contractual obligations by using Hardball's confidential information,


engaging in prohibited competitive activities and wrongfully soliciting Hardball's clients.


            19. As a direct and proximate result of the conduct ofJohnson, Hardball has suffered,


and will continue to suffer, irreparable injury, loss, harm or damage unless or until Johnson is


restrained from his present conduct.


                       Count Two: Intentional Interference With Business Relations


            20. Hardball realleges and incorporates the paragraphs set forth above.


            21. Johnson has tortiously interfered with Hardball's relationships with its clients.


Johnson has, with improper motive and malice, and without justification or excuse, intentionally


interfered with these relationships by conduct which is independently tortious.


            22. As a direct and proximate result of Johnson's wrongful and intentional interference,


Hardball has suffered, and will continue to suffer to suffer, injury, loss, harm or damage.


            23. As a direct and proximate result ofJohnson's conduct, Hardball has suffered, and will


continue to suffer, substantial harm and is entitled to compensatory and exemplary damages.


            24. As a direct and proximate result of the conduct ofJohnson, Hardball will inevitably


suffer, and continue to suffer, additional damages, which continue to accrue, in an amount to be proved


at trial.


             Count Three: Misappropriation of Confidential Information and Trade Secrets —
                              Violation of the Texas Uniform Trade Secrets Act


            25. Hardball realleges and incorporates the paragraphs set forth above.

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          26. Hardball owns one or more trade secrets and has engaged in reasonable efforts to


keep the information secret.


          27. HardbalPs trade secrets have independent economic value because they are generally


unknown to, and not readily ascertainable by, third parties who can obtain value from their disclosure


or use.


          28. Johnson possesses Hardball's trade secrets and has misappropriated the trade secrets


either by acquiring them with knowledge of improper means or by using or disclosing them without


Hardball's consent. Johnson is in possession ofHardball's information that gives him a competitive


advantage in the marketplace.


          29. If Johnson is not restrained, he will continue to use, disclose and misappropriate


Hardball's trade secrets and Hardball will suffer injury, loss, harm or damage.


          30. As a direct and proximate result of the conduct ofJohnson, Hardball will continue to


suffer immediate and irreparable injury, loss, harm or damage unless or until Johnson is restrained


from his present conduct.


                                  Count Four: Unfair Competition


          31. Hardball realleges and incoiporates the paragraphs set forth above.


          32. A confidential relationship existed amongst Hardball and Johnson. As a result of this


relationship, Johnson had access to Hardball's confidential information. Johnson has used Hardball's


confidential information for his benefit. Johnson has breached the confidential relationship with


Hardball, and he is benefitting from that breach, through his use, disclosure of, and/or unfair


competition with, Hardball's confidential information.


          33. As a direct and proximate result of Johnson's unfair competition, Hardball has


suffered and will continue to suffer, injury, loss, harm or damage.


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         34. As a direct and proximate result ofJohnson's conduct, Hardball will suffer, and


continues to suffer, substantial harm and is entitled to compensatory and exemplaiy damages.


These damages specifically include, but are not limited to, recapture of all compensation or other


value that Johnson receives, in any form, as a result of his unfair competition.


         35. As a direct and proximate result ofJohnson's unfair competition, Hardball has


suffered, and will continue to suffer, additional damages, which continue to accrue, in an amount


to be proven at trial.


         36. As a result of the harm caused by Johnson's malicious conduct, Hardball is


entitled to exemplary damages.


         37. As a direct and proximate result of the conduct ofJohnson, Hardball has suffered,


and will continue to suffer, immediate and irreparable injury, loss, harm or damage, unless or


until Johnson is restrained from his present conduct.


                                  Count Five: Attorneys' Fees


         38. Hardball realleges and incoiporates the paragraphs set forth above.


         39. Hardball has been forced to retain the undersigned attorneys in connection with this


matter. It has agreed to pay the undersigned counsel a reasonable fee for their services. Hardball


therefore asks the Court to award it the reasonable fees and other costs incurred in this lawsuit


pursuant to Sections 38.01 and 134A.005 of the Texas Civil Practice and Remedies Code.


       APPLICATION FOR TEMPORARY RESTRAINING ORDER, TEMPORARY
                 INJUNCTION AND PERMANENT INJUNCTION

                                   Probable Right of Recovery


         40. Hardball realleges and incorporates the paragraphs set forth above.


         41. It is probable that Hardball will recover legal and/or equitable remedies against


Johnson on the claims described in Counts One through Four of this Petition.
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                                            Probable Injury

         42. Hardball realleges and incorporates the paragraphs set forth above.


         43. If Johnson is not restrained from his unlawful conduct, Hardball will suffer


imminent harm and irreparable injury and will have no adequate remedy at law, because the


damages caused by the disclosure of Hardball's confidential, proprietary and/or trade secret


information are difficult, if not impossible to quantify, and cannot be completely cured by an


award of monetary relief alone.


                                     Request for Injunctive Relief


         44. Hardball realleges and incorporates the paragraphs set forth above.


         45. Based on the foregoing, Hardball asks that the Court issue a temporary restraining


order, and after further proceedings, a temporary injunction and permanent injunction against


Johnson restraining him as follows:


         Johnson shall not divulge, disclose, or communicate in any manner any information
         that is proprietary or confidential to Hardball, including business records and plans,
         trade secrets, technical data, product ideas, contracts, financial information, pricing
         structure, discounts, computer programs and listings, source code and/or object code,
         copyrights and intellectual property, inventions, sales leads, strategic alliances,
         partners, and customer and client lists.


         Johnson shall not engage in any business that competes with Hardball within a 30-mile
         radius of any existing Hardball facility or facilities. Engaging in any competitive
         business includes: (i) engaging in a business as an owner, partner, or agent, (ii)
         becoming an employee of any third party engaged in such business, (iii) becoming
         interested directly or indirectly in any such business, or (iv) soliciting any customer of
         Hardball Academy LLC for the benefit of a third party that is engaged in such a
         business.


         Johnson shall not solicit business from, or attempt to sell, license, or provide the same
         or similar products or services as are now provided to any customer or client of
         Hardball, nor shall he use the demographic or confidential information ofHardball's
         existing client or any client during the course of his employment to solicit and provide
         quotes and or transfer business to any competing entity.



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                                          Requested Relief


         Hardball requests the following relief:


         46. Injunctive relief as described above as well as all relief, at law and in equity, to


which it may be entitled, including but not limited to:

                   (a) consequential damages related to any economic loss as a result of
                         unlawful conduct by Defendants;


                   (b) exemplary/punitive damages due to Johnson's willful and malicious
                         conduct and misappropriation ofHardball's trade secrets;


                   (c) disgorgement of any profits earned by Johnson as a result of unlawful
                         actions;


                   (d) any unjust enrichment to Defendants caused by their misappropriation
                          ofHardball's trade secrets;


                   (e) pre and post-judgment interest; and


                   (f) costs, fines, disbursements and reasonable attorneys' fees pursuant to the
                          Texas Civil Practice and Remedies Code, as well as all other applicable
                          law.



                                                   Respectfully submitted,



                                                    7TB
                                                   GRAY REED
                                                                  ?

                                                    L..^?^ JUUiAA
                                                   Jay Ald^s
                                                   State B^irN^). 00785656
                                                   1300 PosrOak Blvd., Suite 2000
                                                   Houston, Texas 77065
                                                   (713) 986-7175 (Facsimile)
                                                   ialdis(%grayreed.com


                                                    Attorneys for Plaintiff




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                               EXHIBIT A




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                                          Employment Contract
                                         Hardball Academy LLC


This Employment Contract is made effective as of . by and between Hardball
Academy LLC of 728 Marbrook Saddle Lane, League City, TX 77573 and Jiittiiifilgl@Uiillal.fepf

A. Hardball Academy LLC is engaged in the business of Baseball Instruction/Coaching.
^8Stl8—SStt:. .-•...,. .".. -.;...••. -.. , , _.will primarily perform the job duties at the following

locations. 3201 Hamm Road, Peartand, TX 77573. 4807 Hwy 646, Dickinson, Texas 77539.


B. Hardball Academy LLC. desires to have the services of


1. Employment
Hardball Academy LLC. shall emp[(y\/^,aji^^MGi^??9^1S^^ an
                                                                                  shall provide to Hardball
Academy LLC duties as needed.\ ..BfilfiIlSl'MjlJttisll - • • _accepts and agrees
to such employment, and agrees to be subject to the general supervision, advice and direction of
 Hardball Academy LLC. and Hardball Academy LLC's supervisory personnel.




2. Best Efforts of Employee.
llStMS|B8Sl§@ifi .. 'iagrees to perform faithfully, industriously, and to the best of his ability,
 experience, and talents, all of the duties that may be required by the express and implicit terms of this
 contract, to the reasonable satisfaction of Hardball Academy LLC. Such duties shall be provided at such
 places as the needs, business, or opportunities of Hardball Academy LLC may require from time to time.


3. Ownership of Social Media/Social Media Contacts
Any social media contacts, including followers or friends that are acquired through accounts(inctuding
 but not limited to email addresses, blogs, Twitter, Facebook, YouTube, or other social media networks)
 used or created on behalf of Harctball Academy LLC are the property of Hardball Academy LLC.

4. Recommendations for improving Operations
|3K|n|^|gggg|gg• ___. ;shall provide Hardball Academy LLC with all
 information, suggestions, and recommendations regarding Hardball Academy LLC's business, of
 whichJggy|g||}|||ttS|Qgi_has knowledge, that will be of benefit to Hardball Academy LLC.

5. Confidentiality
@grngttgai§K|i|g!. • .^ ~.'l .. .. , - '. _recognizes that Hardball Academy LLC has and will
 have information regarding the following:


-processes
-trade secrets
-customer lists
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-prices
-cost

-discounts
-business affairs
-future plans


And other vital information items (collectively, "information") which are valuable, special and unique
 assets of Hardball Academy LLC.
  ^|||^g|ygjQgggj[__agrees thatjie_will not at any time or in any manner, either directly or indirectly,
 divulge, disclose, or communicate any information to any third party without the prior written consent of
 Hardball Academy LLC. glggggMfil81S(Lis expected to protect the information and treat it as strictly
 confidential. A violation by_Jg||g||tiHS8?li?,_of this paragraph shall be a material violation
 of this contract and will justify legal and/or equitable relief.
This agreement is in compliance with the Defend Trade Secrets Act and provides civil or criminal
 immunity to any individual for the disclosure of trade secrets: (i) made in confidence to a federal, state,
 or local government official, or to an attorney when the disclosure is to report suspected violations of the
 law; or (it) in a complaint or other document filed in a lawsuit if made under seal.


6. Unauthorized disclosure of Information
If it appears that_gggggttafiU|ii@|_has disclosed (or has threatened to
disclose) information in violation of this contract, Hardball Academy LLC shall be entitled to an injunction
 to restrain _J|g|||i|i||M§SH_from disclosing, in whole or in part, such
 information, or from providing any services to any party to whom such information has been disclosed or
 may be disclosed. Hardball Academy LLC shall not be prohibited by this provision from pursuing other
 remedies, including a claim for losses and damages.


7. Confidentiality after termination of employment.
The confidentiality provisions of this Contract shall remain in full force and effect for a period of 3 years
 after the voluntary or involuntary termination of g|8ttr|eix»n^l|fi|^gp.
 employment. During such periods, neither party shall make or permit the making of any public
 announcement or statement of any kind that |3g|gi@KOn;<JitiQ|gtt_was formerly employed by or
 connected with Hardball Academy LLC.


8. Non-Compete Agreement
'is^SSSimiSffi _recognizes that the various items of information are special and unique assets of
 the company and need to be protected from improper disclosure. In consideration of the disclosure of
 inforamtion_SUjg8M©8iitt_ .i agrees and covenants that during his or her employment by Hardball
 Academy LLC and for a period of 3 years following the termination of _;
 employment, whether such termination is voluntary or involuntary _ will not
 directly or indirectly engage in any business competitive with Hardball Academy LLC.

This covenant shall apply to the geographical area that includes the area within a 30 mile radius of
 current facilities or future facilities acquired while employed,
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Directly or indirectly engaging in any competitive business includes, but is not limited to: (i) engaging in a
business as an owner, partner, or agent, (ii) becoming an employee of any third party that is engaged in
such business, (iii) becoming interested directly or indirectly in any such business, or (iv) soliciting any
customer of Hardball Academy LLC for the benefit of a third party that is engaged in such business.
llsfifflBSStl&l&B_.agrees hat this non-compete provision will not adversely affect his livelihood.

9. Employee's Inability to Contract for employer.
 ^raliUillBjSii.-..,..- .... -..-..• ,... _.shall not have the right to make any contracts or
commitments for or on behalf of Hardball Academy LLC. without first obtaining the express written
consent of Hardball Academy LLC.

10. Benefits
 JHsJiillSlllfflfflSSli_shall be entitled to some employment benefits, as
provided by Hardball Academy LLC's policies in effect during the term of employment. These benefits
may or may not include: Health insurance, reimbursement of expenses, travel, meals, etc.


11. Term/Termi nation
  j|gl|t||ifi||iliiofi___ employment under this contract shall be for__1__years and the
contract will automatically renew at the end of_1__years unless 30 days prior written notice is given.
This contract may be terminated by Hardball Academy LLC immediately with or without written notice.
ItjigliigBSMJfllia_is in violation of this contract Hardball Academy may terminate
employment without notice and without compensation to Jg|gg81SSi?i8BirL—



12. Termination for Disability
Hardball Academy LLC shall have the option to terminate this Contract, if g8B|^gfi|te|i]@ggi3__becomes
 permanently disabled and is no longer able to perform the essential functions of the position with
 reasonable accommodation. Hardball Academy LLC shall exercise this option by giving a 30 day written
 notice.


13. Compliance with employer's rules
E)§n|e||i|l|iftl|s|Jt__ agrees to comply with all the rules and regulations and any implemented policies of
 Hardball Academy LLC.




14. Return of Property
Upon termination of this contract, y|@|i|^J"^ni:!d|3)-iicis§iniishall deliver to Hardball Academy LLC all property
 which is Hardball Academy LLC's property or related to Hardball Academy LLC's business (including
 keys records, notes, data, memoranda, models, and equipment) that is in_gg|t|gg||i'i;
 |J^fcrei@&_possession or underlVSWiemo'^Ql'itlSQn^ ~-':'l control. Such obligation may be governed by
 any separate confidentiality or property rights agreement signed by VgHlilBMiH^iBm_i
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15. Notices
All notices required or permitted under this contract shall be in writing and shall be deemed delivered
when delivered in person or on the third day after being deposited in the United States mail, postage
paid, addressed as follows:


Hardball Academy LLC
Richie Beard
728 Marbrook Saddle Lane
League City, Texas 77573

Such addresses may be changed from time to time by either party. Employee must provide in writing
new address within 30 days of changing to a new address.


16. Entire Agreement
This contract contains the entire agreement of the parties. However, it is possible for Hardball Academy
LLC to have other agreements such as but not limited to: disclosure statements, job description
assignments, equipment contracts, professional growth contracts as well as any other possible
addments to this agreement.


17. Amendment
This contract may be modified or amended, if the amendment is made in writing and signed by both
parties.


18. Severability
If any provisions of this contract shall be held to be invalid or unenforceable for any reason, the
remaining provisions shall continue to be valid and enforceable. If a court finds that any provision of this
agreement is invalid or unenforceable, but that by limitinging such provision it would become valid or
enforceable, then such provision shall be deemed to be written, construed, and enforced as so limited.


19. Waiver of Contractual Right
The failure of either party to enforce any provision of this contract shall not be construed as a waiver or
limitation of that party's right to subsequently enforce and compel strict compliance with every provision
of this contract.




20. Signatories
This contract shall be signed by Richie Beard, President on behalf of Hardball Academy LLC and by
  j|g||i|i^|gy^gQg|l3_in an individual capacity. This Contract is effective as of the date first above
written.
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       Me D^.
Richfe Beard, President
Hardball Academy LLC


Date: 0    ^/^/2^



Employee Name (Print)                   nscy\


Employee Name (Signature):



Date: ^/ZO/'IO
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                                       Non-Compete Agreement

                                         Hardball Academy LLC




This Non-Compete Agreement is made effective as of_01 / 01 / 2020 _, by and
between Hardball Academy LLC, of 728 Marbrook Saddle Lane, League City, Texas 77573, and Cameron
Johnson of Li^)C> ^C\<-e^- ^lr- ,S ^ib-^oK/-^ -]1^\0



   1. Non- Compete Covenant. During employment and for a period of 3 years after the
       separation of employment for any reason CameronJohnson will not
       directly or indirectly engage in any business that competes with Hardball Academy LLC.


       This covenant shall apply to the geographical area that includes the area within a 30-mile radius
       of any existing Hardball Academy facility or facilities that will be owned/operated/built during
       the time of employment.


       Directly or indirectly engaging in any competitive business includes but is not limited to: (i)
       engaging in a business as an owner, partner, or agent (ii) becoming and employee of any third
       party engaged in such business. (iii) becoming invested in any such business either directly or
       indirectly or (iv) soliciting any customer of Hardball Academy LLC for the benefit of self-
       employment or the benefit of a third party engaged in such business. _ Cameron Johnson
       agrees that this non-compete will not adversely affect their livelihood.


   2. Non-Solicitation Covenant. For a period of 3 years after the effective date of this
       agreement._ Cameron Johnson will not directly or indirectly solicit business from, or attempt to
       sell, license, or provide the same or similar products or services as are now provided to,any
       customer or client of Hardball LLC, nor shall _ Cameron Johnson use Hardball Academy's
       existing or any client during the course of employments demographic and confidential
       information to solicit and provide quotes and or transfer of business to any competing entity.
       Further, for a period of 3 years after the effective date of this agreement_ Cameron Johnson
       will not directly or indirectly solicit, induce or attempt to induce any employee of Hardball
       Academy LLC to terminate his or her employment with Hardball Academy LLC.


   3. Condition of Employment. In consideration of the commitments and obligation made by
       Cameron Johnson. Cameron Johnson and Hardball Academy LLC. agree that the execution of
       this agreement is a condition of the employment of_ Cameron Johnson by Hardball
       Academy LLC.
   4. Confidentiality. _ Cameron Johnson will not at any time or in any manner, either directly
       or indirectly, use for the personal benefit of Cameron Johnson or divulge, disclose, or
       communicate in any manner any information that is proprietary to Hardball Academy LLC. The
       nature of the information and the manner of disclosure are such that a reasonable person
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   would understand it to be confidential. Cameron Johnson wilt protect such information and
   treat it as strictly confidential. The obligation of Cameron Johnson not to disclose confidential
   information shall continue for a period of 5 years after the effective date of this agreement.
   Within 15 days after receiving a written request, _ Cameron Johnson will return to Hardball
   Academy LLC. all records, notes, documentation, and other items that were used, created, or
   controlled by _ Cameron Johnson
   Entire Agreement. This agreement contains the entire agreement of the parties regarding the
   subject matter of this agreement, and there are no other promises or conditions in any other
   agreement whether oral or written. This document will automatically renew after 3 years unless
   the employee submits resignation information in writing 30 days prior to the end of this
   contract.



   Severability. The parties have attempted to limit the non-compete provision so that it applies
   only to the extent necessary to protect legitimate business and property interests. If any
   provision of this agreement shall be held to be invalid or unenforceable for any reason, the
   remaining provisions shall continue to be valid and enforceable. If a court finds that any
   provision of this agreement is invalid or unenforceable but that by limiting such provision it
   would become valid and enforceable, then such provision shall be deemed to be written,
   construed, and enforced as so limited.




7. Injunction. It is agreed that if_ Cameron Johnson violates the terms of this agreement
   irreparable harm will occur, and money damages will be insufficient to compensate. Hardball
   Academy LLC. Therefore, Hardball Academy LLC will be entitled to seek injunctive relief (i.e., a
   court order that requires _ Cameron Johnson to comply with the agreement), to enforce the
   terms of this agreement. The prevailing party shall have the right to collect from the other party
   its reasonable cost and necessary disbursements and attorney's fees incurred in enforcing this
   agreement.


8. Applicable Law. This agreement shall be governed by the laws of the State of Texas.



9. Conflict Resolution. In the event of a dispute between the parties, the parties hereby also
   agree that the prevailing party shall be entitled to reasonable attorney fees and cost incurred as
    a result of the dispute.


10. Signatories. This agreement shall be signed by _ Cameron Johnson and by Richie Beard,
    President, on behalf of Hardball Academy LLC. This agreement is effective as of the date first
    above written.
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Protected Party:

Hardball Academy LLC.




  17~
Richie Beard

President




Non-Competing Party:




By:.    A'\ m^/^?^ J^r\5 '(/V^

Job Title: ln^\'y\)C^CV /Tf^CU Coc\ C/ k/
                        T




                                                      ^ Z o -^o
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                              EXHIBIT B




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                                   Non-Disclosure Agreement
                                      Hardball Academy LLC.


This Non-Disclosure Agreement is made effective as of_01/01/2020_.. By and
between Hardball Academy LLC of 728 Marbrook Saddle Lane, League City, Texas 77573 and
 _Cameron Johnson of L\^\0 l^^^r ^)r SLZLb^oO^^K '7-7 •;^ ^


Information will be disclosed to _Cameron Johnson_ to help assist Hardball Academy
LLC with the development of marketing. Client information including phone numbers, email, and
social media information will be disclosed to Cameron Johnson
As well all business practices, business structure, business systems, and other privileged
information. Likewise, other confidential information may be disclosed and not limited to the
above mentioned items.


The owner has requested and the recipient agrees that the recipient will protect the confidential
material and information which may be disclosed between the Owner and the Recipient.
Therefore, the parties agree as follows:


  I. Confidential Information. The term "confidential information" means any information or
       material which is proprietary to the Owner, weather or not owned or developed by the
       Owner, which is not generally know other than by the Owner, and which the recipient
       may obtain through any direct or indirect contact with the Owner. Regardless of whether
       specifically identified as confidential or proprietary. Confidential information shall include
       any information provided by the Owner concerning the business, technology and
       information of the Owner and any third party with which the Owner deals, including,
       without limitation, business records and plans, trade secrets, technical data, product
       ideas, contracts, financial information, pricing structure, discounts, computer programs
       and listings, source code and/or object code, copyrights, and intellectual property,
       inventions, sales leads, strategic alliances, partners, and customer and client list. The
       nature of the information and the manner of disclosure are such that a reasonable
       person would understand it to be confidential.


           A. Confidential Information does not include:
                   • Matters of public knowledge that result from disclosure by the owner
                   • Information rightfully received by the recipient from a third party without a
                       duty of confidentiality
                   • Information independently developed by the recipient
                   • Information disclosed by operation of law
                   • Information disclosed by the recipient with the prior written consent of the
                       owner and any other information that both parties agree in writing is not
                       confidential
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II. Protection of Confidential Information. The recipient understands and acknowledges that
the confidential information has been developed or obtained by the Owner by the investment of
significant time, effort and expense, and that the confidential information is a valuable, special
and unique asset of the Owner which provides the Owner with a significant competitive
advantage, and needs to be protected from improper disclosure. In consideration for the receipt
by the recipient of the confidential information, the recipient agrees as follows:


   A. No Disclosure. The recipient will hold the confidential information in confidence and will
       not disclose the confidential information to any person or entity without the prior written
       consent of the Owner.
   B. No Copying/Modifying. The recipient will not copy or modify any Confidential
       information without the prior written consent of the owner
   C, Unauthorized Use. The recipient shall promptly advise the Owner if the recipient
       becomes aware of any disclosure or use of the confidential information.
    D. Application to Employees. The recipient shall not disclose any confidential information
       to any employees of the recipient, except those employees who are required to have the
       confidential information in order to perform their job duties in connection with the limited
       purpose of this agreement. Each permitted employee to whom confidential information is
       disclosed shall sign a non-disclosure agreement substantially the same as this
       agreement at the request of the Owner.
III. Unauthorized Disclosure of information-lnjunction. If it appears that the recipient has
disclosed or threatened to disclose confidential information in violation of this agreement, the
owner shall be entitled to an injunction to restrain the recipient from disclosing the confidential
information in whole or in part. The owner shall not be prohibited by this provision from pursuing
other remedies, including a claim for losses and damages.


IV. Non-Circumvention. For a period of 5 years after the end of the therm of this agreement,
the recipient will not attempt to do business with, or otherwise solicit any business contacts
found or otherwise referred by the owner to recipients for the purpose of circumventing the
result of which shall be to prevent the owner from realizing or recognizing a profit, fees,or
otherwise, without specific written approval of the owner. If such circumvention shall occur the
owner shall be entitled to any commissions due pursuant to this agreement or relating to such
transaction.


V. Return of Confidential Information. Upon the written request of the owner, the recipient
shall return to the owner all written materials containing the confidential information. The
recipient shall also deliver to the owner written statements signed by the recipient certifying that
all materials have been returned within 5 days of receipt of the request.


VI. Relationship of Parties. Neither party has an obligation under the agreement to purchase
any service or item from the other party, or commercially offer any products using or
incorporating the confidential information. This agreement does not create any agency,
partnership, or joint venture.
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VII. No Warranty. The recipient acknowledges and agrees that the confidential information is
provided on an "as is" basis. The owner makes no warranties, express or implied, with respect
to the confidential information and hereby expressly disclaims any and all implied warranties of
merchantability and fitness for a particular purpose. In no event shall the owner be liable for any
direct, indirect, special, or consequential damages in connection with or arising out of the
performance or use any portion of the confidential information. The owner does not represent or
warrant that any product or business plans disclosed to the recipient will be marketed or carried
out as disclosed, or at all. Any actions taken by the recipient in response to the disclosure of the
confidential information shall be solely at the risk of the recipient.


VIII. Limited License to Use. The recipient shall not acquire any intellectual property rights
under the agreement except the limited right to use as set forth above. The recipient
acknowledges that, as between the owner and the recipient of the confidential information and
all related copyrights and other intellectual property rights, are and (will at all times be) the
property of the owner, even if suggestions, comments, and/or ideas made by the recipient are
incorporated into the confidential information or related materials during the period of this
agreement.


IX. Indemnity. Each party agrees to defend, and hold harmless the other party and its officers,
directors, agents, affiliates, distributors, representatives, and employees from any and all third
party claims, demands, liabilities, cost and expense including reasonable attorney's fees,cost
and expenses resulting from indemnifying party's material breach of any duty, representation, or
warranty under this agreement


X. Attorney's Fees. In any legal action between the parties concerning this agreement, the
prevailing party shall be entitled to recover reasonable attorney's fees and costs.


Xl. Term. The obligations of this agreement shall survive 5 years from the effective date or until
the owner sends the recipient written notice releasing the recipient from this agreement. After
that, the recipient must continue to protect the confidential information that was received during
the term of this agreement from unauthorized use or disclose for an additional 3 years.


XII. General Provisions. This agreement sets forth the entire understanding of the parties
regarding confidentiality. Any amendments must be in writing and signed by both parties. This
agreement shall be construed under the laws of the State of Texas. This agreement shall not be
assignable by either party. Neither party may delegate its duties under this agreement without
the prior written consent of the other party. The confidentiality provisions of this agreement shall
remain in full force and effect at all times in accordance with the terms of this agreement. If any
provision of this agreement is held to be invalid, illegal or unenforceable, the remaining portions
of this agreement shall remain in full force and effect and construed so as to best effectuate the
original intent and purpose of this agreement.
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VIII. whistleblower protection. This agreement is in compliance with the Defend Trade Secrets
Act and provides civil or criminal immunity to any individual for the disclosure of trade secrets (i)
made in confidence to a federal, state, or local government official, or to an attorney when the
disclosure is to report suspected violations of the la; (ii) in a complaint or other document filed in
a lawsuit if made under seal


XIV. Signatories. This agreement shall be executed by Richie Beard, President, on behalf of
Hardball Academy LLC and _Cameron Johnson_ and delivered in the manner prescribed
by law as of the date first written above.


Owner:
Hardball Academy LLC
Richie Beard-President
           '•A /1


   6' ///i A.. / 4 ... ..—v 2- - ^ - ^ °
By:" 1/'//^C / '_^---—- _^_
     ^/ Richie Beard

Recipient:


       ^gn Jphn-S'C/K^ (Print Name)

                                        (Sign Name)


  n1I-10
     T
         1^ _ (Date)
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                                           VERIFICATION

STATE OF TEXAS §
                                       §
HARRIS COUNTY §

           BEFORE ME, the unclcfsigned Notary I:>ublic. on this day personally appeared Richie Beard


who, after being by me duly sworn on his oath. stated (lie following:

     My name is Richie Beard, I am President olHardball Baseball Academy ("Hardball ). 1
     am more than Iwenty-one years of age and am Fully compelent to make this declaration, I
     have personal knowledge of each of the statements contained herein and they are true and
     correct.


     I have read Hardbiill's Verified Original Petition and Application (or Injunctive Relief (the
     "Petition"). Through my own actions and my position at Hardball. I have personal
     knowledge of facts staled in the Petition. The facts slated in Paragraphs 6 through 15 of'lhe
     Petition are true and correct.


     For purposes of this Verification, I have also been designated as custodian of records of
     Hardball. I am familiar with the manner in which Hardball's records are created and
     maintained by virtue of my dulie.s and responsibilities. Attached lo the Petition are
     Exhibits A and B. The Exhibits are the original records or exact duplicates of the records.
     The records were made at or near the time of each act, event, condition or opinion set forth
     in the record. The records were made by. or I'rom inlbrmation transmitted by. persons with
     knowledge of the matters set forth in them. It is the regular practice of Hardball to keep
     this type of record in the course of regularly conducted business activity. It is ihe regular
     practice ot'Uarclball to make Ihe records.


                     FURTHER AFFIANT SAYETH N01'.




                                                  RK'IIILBhARI)




           SUBSCRIBED AND SWORN TO BEFORE ME on this the                      day of February, 2022, to
certily which witness my hand and official seat.




                                       Notary Pnblit iiTand Ibi
                                       The Stale of'l'EXAS


                                                      12                           LAURA A. BROWN
.),S7-<-hOH-'}7hy4                                                                         State of Texas
                                                                                                   .2026

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                                    CASE NO.

HARDBALL BASEBALL ACADEMY § IN THE DISTRICT COURT OF
LLC,                 §
                                                   §
                        Plaintiff, §
                                                   § HARMS COUNTY, TEXAS
V.                                   §
                                                   §
CAMERON JOHNSON, §
                                                   §
                        Defendant. § _ JUDICIAL DISTMCT

                            TEMPORARY RESTRAINING ORDER

         Before the Court is the Verified Application for Temporary Restraining Order against


Defendant Cameron Johnson ("Johnson"), and filed by Plaintiff Hardball Baseball Academy

LLC ("Hardball") (the "Application").

         The Court, having reviewed the Application, exhibits and/or argument of counsel, enters


the following ORDER:

         The Court concludes that the Application should be granted because Hardball has a

probable right to relief on the merits of one or more of its claims against Johnson; Hardball will


suffer imminent, irreparable injury if Johnson continues his unlawful conduct; and Hardball has


no adequate remedy at law for the relief requested in its Application.


         THEREFORE, Johnson and his agents, servants, employees and attorneys, and those


persons in active concert or participation with them who receive actual notice of this Order by


personal service or otherwise shall be enjoined or restrained as follows:


         Johnson shall not divulge, disclose, or communicate in any manner any
         information that is proprietary or confidential to Hardball, including business
         records and plans, trade secrets, technical data, product ideas, contracts, financial
         information, pricing structure, discounts, computer programs and listings, source




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         code and/or object code, copyrights and intellectual property, inventions, sales
         leads, strategic alliances, partners, and customer and client lists.


         Johnson shall not engage in any business that competes with Hardball within a
         30-mile radius of any existing Hardball facility or facilities. Engaging in any
         competitive business includes: (i) engaging in a business as an owner, partner, or
         agent, (ii) becoming an employee of any third party engaged in such business, (iii)
         becoming interested directly or indirectly in any such business, or (iv) soliciting
         any customer of Hardball for the benefit of a third party that is engaged in such a
         business.


         Johnson shall not solicit business from, or attempt to sell, license, or provide the
         same or similar products or services as are now provided to any customer or
         client of Hardball, nor shall he use the demographic or confidential information
         ofHardball's existing client or any client during the course of his employment to
         solicit and provide quotes and or transfer business to any competing entity.


         Perry's Application for Temporary Injunction is set for hearing and Johnson shall appear


on , , at o'clock .m. in the _ District Court of Harris


County, Texas, to show cause, if there be any, why a Temporary Injunction should not be issued


as requested by Hardball;

         The Clerk of this Court shall forthwith, upon filing by Hardball of a bond hereinafter

required, issue a Temporary Restraining Order in conformity with the law and according to the


terms herein ordered; and


         This Order shall not be effective unless and until Hardball executes and files with the

Clerk of this Court a Bond in the amount of $



          SIGNED on February _, 2022 at _o'clock _.m.




                                                                    JUDGE PRESIDING




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                                                                                            Marilyn Burgess - District Clerk Harris County
                                                                                                                 Envelope No. 61740903
                                                                                                                      By: Tiffany Jefferson
                                                                                                              Filed: 2/14/2022 10:36 PM

                                                  CAUSE NO. 2022-08824

             HARDBALL BASEBALL ACADEMY                         §               IN THE DISTRICT COURT OF
             LLC                                               §
             Plaintiff,                                        §
                                                               §
             V.                                                §                  HARRIS COUNTY, TEXAS
                                                               §
             CAMERON JOHNSON                                   §
                                                               §
             Defendant.                                        §               61 S T JUDICIAL DISTRICT


                                   DEFENDANT’S ORIGINAL ANSWER

             TO THE HONORABLE JUDGE OF SAID COURT:

                       Defendant, Cameron Johnson, files this Original Answer as follows:

                                                   GENERAL DENIAL

                  1.    Defendant, Cameron Johnson (herein after “Defendant”) hereby asserts a general denial

             under Rule 92 of the Texas Rules of Civil Procedure, denies each and every allegation contained

             in Plaintiffs’ Original Petition, and demands strict proof thereof as required by the Texas Rules of

             Civil Procedure.

                  2.    Defendant attaches the following exhibits in support of said General Denial:

                              a. Exhibit 1 – Declaration of Cameron Johnson

                              b. Exhibit 2 – Declaration of Richard Johnson

                                               AFFIRMATIVE DEFENSES

                  3.    Defendant hereby asserts the following affirmative defenses:

                              a. Doctrine of Unclean Hands.

                              b. Failure of Consideration in the non-compete agreement.

                              c. Unenforceability and Unconscionability as a matter of Texas law.


                                                                                                            1|Page

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                            d. Indefiniteness of Contracts—there was no term nor compensation described

                                 therein.

                                                         PRAYER

                        WHEREFORE, PREMISES CONSIDERED, Defendant Cameron Johnson, prays that

             Plaintiff’s case be dismissed in its entirety, deny any temporary restraining order, and awards

             Defendant’s costs, and attorney’s fees and for such other and further relief that may be awarded at

             law or in equity.




                                                                  Respectfully submitted,

                                                                  KEARNEY, MCWILLIAMS & DAVIS, PLLC


                                                                  Deborah L . C r a i n
                                                                  Deborah L. Crain
                                                                  SBN: 24067319
                                                                  dcrain@kmd.law
                                                                  Jamison Walters
                                                                  SBN: 24098573
                                                                  jwalters@kmd.law
                                                                  55 Waugh Drive, #150
                                                                  Houston, Texas 77077
                                                                  Tel: (713) 936-9620, ext. 111
                                                                  Fax: (713) 533-8055
                                                                  ATTORNEYS FOR DEFENDANT




                                                                                                      2|Page

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                                            CERTIFICATE OF SERVICE

             The undersigned hereby certifies a true and correct copy of the foregoing was served on
             February 14, 2022 in accordance with the Texas Rules of Civil Procedure upon the following:

             Via E-file: jaldis@grayreed.com
             Gray Reed
             Jay Aldis
             1300 Post Oak Blvd., Suite 2000
             Houston, Texas 77065
             ATTORNEYS FOR PLAINTIFF


                                                        /s/ J a m i s o n B . W a l t e r s
                                                        Jamison B. Walters




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                                    Exhibit 1




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                                                  CAUSE NO. 2022-08824

             HARDBALL BASEBALL ACADEMY                          §                IN THE DISTRICT COURT OF
             LLC                                                §
             Plaintiff,                                         §
                                                                §
             V.                                                 §                     HARRIS COUNTY, TEXAS
                                                                §
             CAMERON JOHNSON                                    §
                                                                §
             Defendant.                                         §                61 S T JUDICIAL DISTRICT


                               UNSWORN DECLERATION OF CAMERON JOHNSON



                        “My name is Cameron Johnson. I am more than eighteen years of age, of sound mind,

             and fully competent to make this declaration. My address is 444 East Medical Center Blvd., #1008,

             Webster, Texas 77598. I have personal knowledge of the matters set forth below and they are true

             and correct under penalty of perjury and based on my own personal knowledge.”

                  1.    I am a baseball coach. I have played baseball my entire life, and the majority of what I

             have learned about the sport and how to teach others how to play comes from what my father,

             Richard Johnson, taught me.

                  2.    My father was a professional baseball player and played for the Houston, Astros.

                  3.    After he stopped playing professionally, he worked part time for Hardball Baseball

             Academy. He stopped working there in 2018.

                  4.    I attended Lamar University where I also played baseball and I had many great baseball

             coaches over the years, not including my father.

                  5.    In 2013, I started with Hardball Baseball Academy as a baseball coach. Following my

             father’s legacy and all of his training, I also wanted to coach after I finished playing baseball. I am

             not only skilled in baseball naturally and through extensive, lifelong training, it is also my passion

             and my calling. I absolutely love working with kids and young adults to help them improve their
                                                                                                            1 | Page

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                  Case 4:22-cv-01181 Document 1 Filed on 04/12/22 in TXSD Page 40 of 97




             game.

                 6.     When I was told by Mr. Beard that I had to sign those documents to keep my job, I went

             along with it, but was never provided any additional “consideration” as he has claimed.

                 7.     I am the one who brought the needed skillset to the Academy. I am the one who

             developed all of the training curriculum for my students and was never once trained by Richie

             Beard or anyone else at Hardball with any proprietary training methods or shown techniques I had

             already seen taught by many other coaches all over Texas. Hardball did not bring anything new to

             the table, so to speak.

                 8.     I used my own methodology of training; no methodology of Hardball was ever given or

             taught to me.

                 9.     I also developed my own dedicated client base using my own personal social media

             accounts. I have only been provided a handful of clients through the Academy or from Mr. Beard

             over the years, as my schedule permitted. My own, self-sourced clients filled my schedule entirely

             due to my personal reputation, word-of-mouth, and social media accounts.

                 10.    I do not possess any confidential documents or information that belonged to Hardball. In

             fact, the pricing for Hardball Baseball Academy is posted on their website for the world to see.

                 11.    Ultimately, I left Hardball because Mr. Beard did not honor his commitments and

             promises to me. I was not paid for tryouts. He simply made up what he wanted to pay me for

             tournaments and extensive travel. There were weekends where I would be forced to travel

             hundreds of miles for tournaments and was not compensated fairly for my time, effort, and

             expertise. I was not paid for my gas mileage on these longer trips, given any stipends for food, and

             was not given any benefits whatsoever—even though I was promised I would get benefits.

                 12.    Also, there would be times where clients would complain about the lack of quality of the




                                                                                                              2 | Page

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             facility at Hardball Baseball Academy that was dirty and lacked proper safety protocols and

             equipment, such as screen nets that protect others from getting hit by high-speed baseballs. I,

             myself, was struck in the face by a ball because of the poor netting, I was lucky I was not seriously

             injured. The client I have had over the years came to see me for my quality of teaching, despite

             the lack of quality of the facility I happened to work in.

                13.     As a single dad who has sole custody of his son, I could not afford to take care of my son

             and keep working there.

                14.     Last year, I was only paid around $38,000.00. I was not paid for any overtime for the

             hours I worked over the weekends last year, and some years I would clock in over 340 days.

                15.     I personally read each statement in Defendant’s Original Answer and the facts stated

             therein are true and correct.

                16.     My date of birth is August 7, 1989.

                Further declarant sayeth not.”


                                     02 / 14 / 2022
                      SIGNED on                               , 2022.




                                                                        Cameron Johnson




                                                                                                                  3 | Page

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         Title
                                    2022.02.14 Cameron Johnson Declaration.pdf
         File Name
                                2022.02.14%20Came...20Declaration.pdf
         Document ID
                              dc36acf3af701c059b11a6ab0f971c17ff98a60d
         Audit Trail Date Format
                  MM / DD / YYYY
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                            02 / 15 / 2022         Viewed by Cameron Trent Johnson (olliesdad2016@outlook.com)
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                                    Exhibit 2




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                                                  CAUSE NO. 2022-08824

             HARDBALL BASEBALL ACADEMY                        §                IN THE DISTRICT COURT OF
             LLC                                              §
             Plaintiff,                                       §
                                                              §
             V.                                               §                    HARRIS COUNTY, TEXAS
                                                              §
             CAMERON JOHNSON                                  §
                                                              §
             Defendant.                                       §                61 S T JUDICIAL DISTRICT


                                UNSWORN DECLERATION OF RICHARD JOHNSON



                        “My name is Richard Johnson. I am more than eighteen years of age, of sound mind, and

             fully competent to make this declaration. My address is 818 Kentucky Street, Deer Park, Texas

             77536. I have personal knowledge of the matters set forth below and they are true and correct

             under penalty of perjury and based on my own personal knowledge.

                  1.    I am Cameron Johnson’s father. I am a graduate of Sam Houston State University with a

             B.S. in Chemistry and a minor in Mathematics, 4-year lettermen in baseball and 2003 Hall of

             Honor inductee in Athletics.

                  2.    I was drafted by the Houston Astros in 1985 and played three and a half years of

             professional baseball and advancing to the AA level.

                  3.    I personally coached Cameron until he reached high school, where I transitioned into a

             role of consultant and mentor for him.

                  4.    Cameron’s base knowledge of baseball came from years and years of getting coached

             and traveling across the state of Texas playing high school select baseball.

                  5.    Playing under the tutelage of Curt Blount, who was a former assistant at the University

             of Houston prior to coaching the Houston Indians, also helped mold him into the instructor he later

             became—before starting at Hardball Baseball Academy.
                                                                                                         1 | Page

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                      Case 4:22-cv-01181 Document 1 Filed on 04/12/22 in TXSD Page 45 of 97




                  6.     His high school team coach, Sean Wood, also had a major influence on my son.

                  7.     Cameron and I, to this day, still debate hitting mechanics, style, and the overall approach

             to be a sound hitter, how no two accomplished hitters are exactly the same, and trade many social

             media discussions on how completely different body types get the job done in different ways. All

             this is part of his development of his coaching techniques and methods.

                  8.     His instructing style and knowledge has become his own and he has become very good

             at it.

                  9.     I attend some of his select team games and personally see how respected he is by his

             students and their parents and how he has developed very close relationships with a great many of

             them.

                  10.    Like my son, I worked at Hardball Baseball Academy from the early 2000’s until 2018.

             I left due to a work project where I was away from home for a few weeks per month.

                  11.    I gave instruction as the Dickinson location and conducted lessons based on my own

             knowledge and experience and structured my lessons based on what my eyes told me that the

             student needed—and no instruction was provided to me by the Academy. I was the professional

             hired for my experience, not the other way around.

                  12.    Any trainings that were conducted by the Academy to the instructors were generic and

             was nothing any of the instructors had not already seen elsewhere.

                  13.    Hardball Academy also provided me with little to no clients. The students that Hardball

             sometimes provided, while rare, were older, more experienced ones where my professional player

             history played a role. However, the vast majority of my lessons were by word-of-mouth referrals

             due to the success my students were having.

                  14.    When I left in 2018, most of my students wanted to transfer to my son Cameron because




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             we were often teaching at the same time and taught in a similar, you could say “Johnson Family”

             style by stressing athleticism and being able to convey and tailor techniques in multiple ways to

             fit our many different students.

                15.     During my time at Hardball, Richie Beard was seldom at the Dickinson facility. The only

             time I would see Mr. Beard was either at clinics or our yearly meetings where we would discuss

             the timing for submission of the instructors’ monthly invoices and entering our monthly lesson

             schedule, as well as summer teams planning. The meetings focused on typical administrative tasks

             as every business does, not the actual game of baseball and its instruction.

                16.     I do not remember a time when Hardball Baseball Academy provided any instructor with

             any tangible knowledge of the game of baseball or how to teach it—and certainly not with myself

             or my son Cameron.

                17.     My date of birth is February 7, 1963.

                Further declarant sayeth not.”


                                     02 / 14 / 2022
                      SIGNED on                            , 2022.




                                                                     Richard Johnson




                                                                                                                3 | Page

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         Title
                                    2022.02.14 Richard Johnson Declaration.pdf
         File Name
                                2022.02.14%20Rich...20Declaration.pdf
         Document ID
                              fabaeee4b05e9ed2726bb6ffaf12ed4b9f5fcd1c
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        Jamison Walters on behalf of Jamison Walters
        Bar No. 24098573
        jwalters@kmd.law
        Envelope ID: 61740903
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        Case Contacts

         Name               BarNumber   Email               TimestampSubmitted      Status

         Jay Ronald Aldis   785656      jaldis@grayreed.com 2/14/2022 10:36:53 PM   SENT

         Deborah Crain      24067319    dcrain@KMD.law      2/14/2022 10:36:53 PM   SENT

         Jamison BWalters               jwalters@kmd.law    2/14/2022 10:36:53 PM   SENT

         Shannon Frizzell               sfrizzell@kmd.law   2/14/2022 10:36:53 PM   SENT




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                                                           MarilynBurgess-DistrictClerk
                                                           HarrisCounty


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                                                                                                                  By: Tiffany Jefferson
                                                                                                             Filed: 3/1/2022 4:02 PM




                                                  CASE NO. 2022-08824

             HARDBALL BASEBALL ACADEMY                       §          IN THE DISTRICT COURT OF
             LLC,                                            §
                                                             §
                                    Plaintiff,               §
                                                             §          HARRIS COUNTY, TEXAS
             v.                                              §
                                                             §
             CAMERON JOHNSON,                                §
                                                             §
                                    Defendant.               §          61st JUDICIAL DISTRICT



                                           AGREED ORDER FOR HEARING

                      Plaintiff’s Application for Temporary Injunction is set for hearing and Defendant shall

             appear on April 7, 2022, at 1:00 p.m. in the 61st District Court of Harris County, Texas, to show

             cause, if there be any, why a Temporary Injunction should not be issued as requested by

             Plaintiff.


                      SIGNED on March ____ , 2022.




                                                                           JUDGE PRESIDING




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             4877-2193-6402.1


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                                                     AGREED AND REQUESTED
                                                     FOR ENTRY BY



                                                          /s/ Jay Aldis
                                                     Jay Aldis
                                                     Gray Reed & McGraw
                                                     State Bar No. 00785656

                                                     Attorneys for Plaintiff




                                                    AGREED AS TO FORM



                                                           /s/ Deborah L. Crain
                                                     Deborah L. Crain
                                                     Kearney, McWilliams & Davis, PLLC
                                                     State Bar No. 24067319

                                                     Attorneys for Defendant




                                                     2
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        Maud Hage on behalf of Jay Ronald Aldis
        Bar No. 785656
        mhage@grayreed.com
        Envelope ID: 62197469
        Status as of 3/1/2022 4:06 PM CST

        Case Contacts

         Name               BarNumber   Email               TimestampSubmitted    Status

         Deborah Crain      24067319    dcrain@KMD.law      3/1/2022 4:02:36 PM   SENT

         Jay Ronald Aldis   785656      jaldis@grayreed.com 3/1/2022 4:02:36 PM   SENT

         Jamison BWalters               jwalters@kmd.law    3/1/2022 4:02:36 PM   SENT

         Shannon Frizzell               sfrizzell@kmd.law   3/1/2022 4:02:36 PM   SENT




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                                                 CAUSE NO. 2022-08824

             HARDBALL BASEBALL ACADEMY,                    §            IN THE DISTRICT COURT OF
             LLC,                                          §
             Plaintiff,                                    §
                                                           §
             V.                                            §            61ST JUDICIAL DISTRICT
                                                           §
             CAMERON JOHNSON,                              §
             Defendant.                                    §            HARRIS COUNTY, TEXAS


                             CERTIFICATE OF WRITTEN DISCOVERY


                  Defendant Cameron Johnson files this Certificate of Written Discovery in the above-entitled

             and numbered cause directed to Plaintiff Hardball Baseball Academy, LLC pursuant to the

             applicable local rule and states that the discovery set forth below was served on March 12, 2022

             as follows:

                  1) Defendant’s First Request for Production.




             Matter No. 55106-1                                                                         1 | Page

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                                                       Respectfully submitted,

                                                       KEARNEY, MCWILLIAMS & DAVIS, PLLC


                                                        /s Jamison B. Walters
                                                       Deborah L. Crain
                                                       Bar Card No.: 24067319
                                                       dcrain@kmd.law
                                                       Jamison B. Walters
                                                       SBN: 24098573
                                                       jwalters@kmd.law
                                                       55 Waugh Drive, #150
                                                       Houston, Texas 77007
                                                       (713) 936-9620
                                                       Attorneys for Defendant




             Matter No. 55106-1                                                      2 | Page

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                                          CERTIFICATE OF SERVICE

             The undersigned hereby certifies the foregoing was served on March 17, 2022 2022-08824 in
             accordance with the Texas Rules of Civil Procedure upon the following:

             Via E-service
             Jay Aldis
             Gray Reed
             1300 Post Oak Boulevard, Suite 2000
             Houston, Texas 77065

                                                             /s/ Jamison B. Walters
                                                            Jamison B. Walters




             Matter No. 55106-1                                                              3 | Page

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        Shannon Frizzell on behalf of Jamison Walters
        Bar No. 24098573
        sfrizzell@kmd.law
        Envelope ID: 62707689
        Status as of 3/17/2022 2:23 PM CST

        Case Contacts

         Name               BarNumber   Email               TimestampSubmitted     Status

         Deborah Crain      24067319    dcrain@KMD.law      3/17/2022 2:01:29 PM   SENT

         Jay Ronald Aldis   785656      jaldis@grayreed.com 3/17/2022 2:01:29 PM   SENT

         Jamison BWalters               jwalters@kmd.law    3/17/2022 2:01:29 PM   SENT

         Shannon Frizzell               sfrizzell@kmd.law   3/17/2022 2:01:29 PM   SENT




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                                                                           Marilyn Burgess - District Clerk Harris County
                                                                                                Envelope No. 63191951
                                                                                                    By: Brenda Espinoza
                                                                                                Filed: 4/1/2022 2:36 PM




                                     CASE NO. 2022-08824

HARDBALL BASEBALL ACADEMY                       §          IN THE DISTRICT COURT OF
LLC,                                            §
                                                §
                       Plaintiff,               §
                                                §          HARRIS COUNTY, TEXAS
v.                                              §
                                                §
CAMERON JOHNSON,                                §
                                                §
                       Defendant.               §          61st JUDICIAL DISTRICT



                              AGREED ORDER FOR HEARING

         Plaintiff’s Application for Temporary Injunction is set for hearing and Defendant shall

appear on April 21, 2022, at 1:30 p.m., in the 61st District Court of Harris County, Texas, to

show cause, if there be any, why a Temporary Injunction should not be issued as requested by

Plaintiff.


         SIGNED on April ____ , 2022.




                                                              JUDGE PRESIDING




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      Case 4:22-cv-01181 Document 1 Filed on 04/12/22 in TXSD Page 62 of 97




                                        AGREED AND REQUESTED
                                        FOR ENTRY BY



                                             /s/ Jay Aldis
                                        Jay Aldis
                                        Gray Reed & McGraw
                                        State Bar No. 00785656

                                        Attorneys for Plaintiff




                                       AGREED AS TO FORM



                                              /s/ Deborah L. Crain
                                        Deborah L. Crain
                                        Kearney, McWilliams & Davis, PLLC
                                        State Bar No. 24067319

                                        Attorneys for Defendant




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         Case 4:22-cv-01181 Document 1 Filed on 04/12/22 in TXSD Page 63 of 97

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Maud Hage on behalf of Jay Ronald Aldis
Bar No. 785656
mhage@grayreed.com
Envelope ID: 63191951
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Case Contacts

Name               BarNumber   Email               TimestampSubmitted    Status

Deborah Crain      24067319    dcrain@KMD.law      4/1/2022 2:36:02 PM   SENT

Jay Ronald Aldis   785656      jaldis@grayreed.com 4/1/2022 2:36:02 PM   SENT

Jamison BWalters               jwalters@kmd.law    4/1/2022 2:36:02 PM   SENT

Shannon Frizzell               sfrizzell@kmd.law   4/1/2022 2:36:02 PM   SENT
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                                                  CAUSE NO. 2022-08824

             HARDBALL BASEBALL                               §               IN THE DISTRICT COURT OF
             ACADEMY, LLC,                                   §
             Plaintiff,                                      §
                                                             §
             V.                                              §               HARRIS COUNTY, TEXAS
                                                             §
             CAMERON JOHNSON,                                §
             Defendant.                                      §               61ST JUDICIAL DISTRICT


                           FIRST AMENDED ORIGINAL ANSWER AND COUNTERCLAIMS


             TO THE HONORABLE JUDGE OF SAID COURT:

                       COMEs NOW, Defendant Cameron Johnson (“Mr. Johnson” or “Defendant”) in the above-

             styled and numbered cause of action and files this First Amended Answer and Counterclaims

             against Plaintiff Hardball Baseball Academy LLC’s (“Hardball” or “Plaintiff”) Original Petition.

             For good cause, and in support of same, Defendant would respectfully show this Honorable Court

             as follows:

                                                          I
                                                    GENERAL DENIAL
                  1.    Defendant hereby asserts a general denial under Rule 92 of the Texas Rules of Civil

             Procedure, denies each and every allegation contained in Plaintiffs’ Original Petition, and demands

             strict proof thereof as required by the Texas Rules of Civil Procedure.

                  2.    Defendant attaches the following exhibits in support of said General Denial:

                         A.   Declaration of Cameron Johnson (Exhibit 1); and,

                         B.   Declaration of Richard Johnson. (Exhibit 2).


                                                         II
                                                AFFIRMATIVE DEFENSES
                  3.    Defendant hereby asserts the following affirmative defenses:


             Matter No. 55106-1                                                                            1 | Page

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                          A. The Employment Agreement Fails for Lack of Consideration and is Unconscionable.

                4.      Plaintiff is not entitled to the injunctive relief demanded in the Petition, as Plaintiff has

             come to court with unclean hands. Specifically, Plaintiff has failed to honor several contractual

             obligations made by Plaintiff within the Employment Agreement. Specifically, while the

             Employment Agreement attempts to bind Defendant to providing significant services on Plaintiff’s

             behalf, the only recited compensation for Defendant’s performance within the Employment

             Agreement is recited as “some employment benefits” and not defined further therein. There is no

             mention of any other compensation, monetary or otherwise, within the Employment Agreement

             that serves as consideration for the several covenants attributable to Defendant within same.

                5.      A contract must be based on valid consideration, that is mutuality of obligation, and a

             contract lacking consideration is unenforceable. Plains Builder, Inc. v. Steel Source, Inc. 408

             S.W.3d 596 (Tex.App –Amarillo 2013, no pet.). Notably, Defendant began working for Plaintiff

             in 2013, although the contracts now sued upon by Plaintiff were not promulgated until 2020.

             During that time, as averred by Defendant, Plaintiff failed to provide any of form of “some

             employment benefits” to Defendant and, in fact, had no set structure of monetary compensation to

             be paid to Defendant for his services. Rather, Defendant was paid at Plaintiff’s leisure and

             discretion, and said pay was neither fair nor reasonable considering the approximately three

             hundred forty (340) days per year that Defendant provided services on Defendant’s behalf.

                6.      Still further, Plaintiff continuously failed to provide a clean, safe, and properly

             maintained facility where Defendant could perform his services appropriately. Given that Plaintiff

             purports to operate a high-caliber athletics training facility, the risk of injury is omnipresent yet

             despite Plaintiff’s insistence, Defendant refused and ignored the basic safety and security of both




             Matter No. 55106-1                                                                            2 | Page

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             Defendant, Plaintiff’s other employee and personnel, and all patrons of Plaintiff’s facility. Thus,

             Plaintiff demanded Defendant’s performance and adherence to restrictive covenants that were not

             the result of a negotiated business relationship, but merely the unilateral whims of Plaintiff.

                7.      Perhaps unsurprisingly, Plaintiff now seeks to enforce an unenforceable Employment

             Agreement that only recites conditions applicable to Defendant rather than the mutual obligations

             that are common in any contract between an employer and employee. Only the sheer love of the

             services themselves served as the impetus for Defendant’s relentless performance, and now

             Plaintiff seeks to bar Defendant from plying Defendant’s trade through the false protection of

             spurious employment covenants. Defendant has established himself as an authority figure in the

             baseball community and coaching industry, where he has found and managed his own clients

             independently, all of which Plaintiff was forced to do on account of Plaintiff’s failure to ever

             provide any lawful consideration in exchange of Plaintiff’s services.

                8.      An indefinite contract results when a material or essential term, a term a party ‘would

             reasonably regard as [a] vitally important element of their bargain,’ is missing at the time the

             contract was formed.” Id., quoting Padilla v. LaFrance, 907 S.W.2d 454, 460 (Tex.1995). In this

             instance, any compensation serving as consideration for Defendant’s performance was totally

             absent from the Employment Agreement at its inception. As the Employment Agreement is

             illusory without stated consideration, it if unenforceable against Defendant.

                9.      Temporarily suspending argument regarding the lack of consideration within the

             Employment Agreement, the non-compete provision contained within same (which relates to the

             separate Non-Compete Agreement discussed below) is unconscionable as written. Specifically,

             the scope in time of the non-compete agreement is three (3) years and its geographic scope is thirty

             (30) miles of any current or future location.




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                10. Non-compete provisions are only enforceable when they are reasonably constrained in

             time, scope, and restricted activities which neither impose an unnecessary restrain to protect the

             enforcer’s goodwill or legitimate business interests. TEX. BUS. COM. CODE §15.50(A). Indeed,

             valid non-compete provisions facilitates economic competition and is not to be a mere naked

             restraint on trade. TEX. BUS. COM. CODE §15.04.

                11. Here, Plaintiff seeks to enforce a non-compete provision which extends far beyond any

             reasonable restraint on protecting Plaintiff’s business or goodwill. Plaintiff instead seeks to merely

             prevent Defendant from ever operating within the baseball coaching industry practically anywhere

             within the area of Houston, one of the largest commercial centers in the United States. Baseball

             coaching is a busy industry in Houston and the surrounding communities but although Plaintiff

             has an interest in protecting its business, the time and geographic scopes within the non-compete

             provision are not reasonable. Texas courts routinely uphold scopes in time of two (2) years or less

             and geographic scopes much smaller than thirty (30) miles given the amount of industry regionally

             present.

                12. The instant non-compete provision neither facilitates competition nor serves to provide

             Defendant with any reasonable prospect of employment within the industry, rendering the non-

             compete provision unconscionable and unenforceable. In turn, any claim of injunctive relief by

             Plaintiff must be strictly denied.


                         B. The Non-Compete Agreement Fails for Lack of Consideration and is Unconscionable.

                13. Plaintiff’s current attempt to enforce the separate Non-Compete Agreement against

             Defendant must fail for the same reasons that the Employment Agreement fails, as well as for

             certain other reasons. The Non-Compete Agreement similarly lacks consideration and is also




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             unconscionable, but is further not part of an enforceable ancillary agreement as required for its

             legitimacy.

                14. A non-compete covenant in an ancillary or other enforceable agreement is enforceable

             when it contains reasonable limitations on time, scope, and restricted activities which cannot

             impose an unnecessary restraint to protect a business’s good will or its interests subject to the

             covenant. TEX. BUS. COM. CODE §15.50(A). In the two-step threshold inquiry to determine if

             a convent not to compete is enforceable under the Covenants Not to Compete Act, a court

             determines whether there is an “otherwise enforceable agreement” between the parties, and, if so,

             the court determines whether the covenant is “ancillary to or part of” that agreement. Marsh

             United States, Inc. v. Cook, 354 S.W.3d 764 (Tex. 2010). The “otherwise enforceable agreement”

             requirement is satisfied when the covenant is part of an agreement that contained mutual non-

             illusory promises. Id.

                15. The Non-Compete Agreement is an entirely separate agreement promulgated by Plaintiff

             for which no additional consideration can be identified, as is required to make it enforceable, and

             thus cannot be enforced from a standalone promise by an employee. “[A] covenant cannot be a

             stand-alone promise from the employee lacking any new consideration from the employer.”

             Wharton Physician Servs., P.A. v. Signature Gulf Coast Hosp., L.P., 2016 Tex. App. LEXIS 348.

                16. As with the Employment Agreement, no compensation, promises, benefits, or any other

             promises are recited by Plaintiff within the Non-Compete Agreement that would remotely serve

             as the required consideration for same. The Non-Compete Agreement is unilateral in nature,

             written entirely to Plaintiff’s benefit, and only requires that Plaintiff execute same as Plaintiff’s

             single obligation. Every restrictive covenant contained within same falls squarely upon Defendant.




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                17. An employer’s promise is not sufficient consideration to give rise to an interest worthy

             of protection by a covenant not to compete, and thus, such a covenant is not ancillary to the

             agreement required to enforce the covenant. See Strickland v. Medtronic, Inc. 97 S.W.3d 835 (Tex.

             App. –Dallas 2003, pet. denied.). As previously discussed, the Employment Agreement fails for

             lack of consideration and unconscionability. This lack of consideration further renders the instant

             Non-Compete Agreement as not ancillary to the Employment Agreement, as Plaintiff’s promises

             to provide “some employment benefits,” without further specification, constitutes the very type of

             illusory promise insufficient to serve as appropriate consideration.

                18. The Non-Compete Agreement further fails as the time and geographic scopes recited

             within same are unconscionable. Because Plaintiff maintains at least two (2) business locations

             that are within thirty (30) miles from one another, the effect of the thirty (30) mile geographic

             scoped recited within the Non-Compete Agreement is that it doubles to an effective sixty (60) mile

             restriction that is well beyond what is reasonable to protect the goodwill or other business interests

             of the Plaintiff. This attempt to shut Defendant out of Defendant’s established industry is blatantly

             unconscionable and renders the Non-Compete Agreement unenforceable.

                19. Plaintiff’s attempt to bar Defendant from participation in the coaching industry for three

             (3) years is also in excess of what is permissible under Texas law, the standard being no more than

             two (2) years. This fails as a matter of law under the laws of the State of Texas. Marsh v. Cook,

             354 S.W.3d 764.

                20. Given the defective nature of the Employment Agreement and the Non-Compete

             Agreement for failure of consideration, the unconscionability of the terms therein, the failure of

             Plaintiff to provide appropriate verification of said consideration, the claims laid forth by Plaintiff

             are insufficient to recover and Defendant should be discharged from any liability therefrom.




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                         C. Plaintiff Has Not Misappropriated Trade Secrets Belonging to Plaintiff and Has Not
                         Violated Texas Uniform Trade Secrets Act.

                 21. Plaintiff has no “trade secrets” pursuant to the Texas Uniform Trade Secrets Act

             (“TUFTA”) that are protectable and the plaintiff independently developed the programs and

             classes that he offered.

                 22. A “trade secret” means “all forms and types of information,                          including

             business…technical, economic…plan, compilation, program device, program, code, device,

             method, technique, process, procedure, financial data, or list of actual or potential customers or

             suppliers, whether tangible or intangible and whether or how stored, compiled, or

             memorialized…”, TEX. CIV. PRAC. REM. CODE §134A.002(6).

                 23. The qualifying language of the statute goes further, stating that any such material shall

             only be counted as a trade secret where (a) “the owner of the trade secret has taken reasonable

             measures under the circumstances to keep the information secret” and (b) “the information devices

             independent economic value, actual or potential, from being generally known to, and not being

             readily ascertainable through proper means by, another person who can obtain economic value

             from the disclosure of use of the information.” Id.

                 24.    Plaintiff accuses Defendant of violating TUFTA without any specification as to which

             trade secrets were misappropriated, by what method Defendant supposedly misappropriated them,

             and how Johnson leaving Plaintiff’s employment has set forth any direct or proximate injury to

             Plaintiff. This allegation falls flat for want of specificity.

                 25. Here, Plaintiff has taken no steps to secure any of his property which might constitute

             under the law a trade secret. No trainings were provided to the Defendant regarding the safe

             keeping of such and no security measures are in place to safeguard any property that could come



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             into Defendant’s possession. The methods by which Defendant instructed his students were

             entirely of his own making, and nothing that was taught to him by Plaintiff at the beginning of his

             tenure with Plaintiff was previously unknown to him or is uncommon in the baseball coaching

             industry. In fact, if there are trade secrets to have been misappropriated at all in this dispute, they

             are the trade secrets of Defendant that may have been pilfered by Plaintiff during his several years

             of employment. Defendant spent the entirety of his employment with Plaintiff coaching at a

             facility separate from the main facility where the Plaintiff is effectively headquartered.

                26. Apart from a select few clients, in the near decade where Defendant worked for Plaintiff

             nearly all clients receiving Defendant’s services were procured, and later coached, by Defendant

             independently of Plaintiff. No guidance was provided to Defendant by Plaintiff for how to secure

             clients, no leads came forth from Plaintiff to assist Defendant in performing his services, and often

             the threat of termination loomed over Defendant should he fail to secure more clients of his own

             accord. Plaintiff’s trade secret claims against Defendant are meritless and should be dismissed out

             of hand.

                27. Defendant worked for Plaintiff for over nine (9) years, beginning in 2013 following

             Defendant’s graduation from college. Defendant specifically worked as a coach for Plaintiff’s

             baseball academy business. Relegated to the lesser of Plaintiff’s two (2) facilities, Defendant has

             been subjected to operating with rundown security equipment, risking injury to both himself and

             to his players as the bulk of all improvements that Plaintiff employed were to the other facility

             where Defendant was not allowed to perform his coaching services.

                28. Importantly, Defendant brought all of the expertise, training, and knowledge necessary

             to perform all his employment services on behalf of Plaintiff by virtue of Defendant’s prior playing

             experience as an elite collegiate baseball player. Plaintiff provided neither training nor instruction




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             of any kind in directing Defendant’s performance of his coaching services. Neither did Plaintiff

             share any confidential or proprietary information with Defendant pertaining to Plaintiff’s business

             operations. This is mainly because most, if not all, of the information related to Plaintiff’s

             operations are easily available online through Plaintiff’s website and social media accounts.

             Plaintiff’s digital presence provides the general public with detailed information on the pricing,

             hours, facilities, and training and coaching services available through Plaintiff. Thus, not only has

             Defendant not misappropriated any trade secrets of Plaintiff, but Plaintiff maintains no such trade

             secrets to misappropriate.

                29. For nearly the entirety of Defendant’s employment with Plaintiff, Defendant has worked

             upwards of three hundred forty (340) days every calendar year, constituting enumerable hours of

             overtime and services performed during weekends and holidays. During Defendant’s tenure, is

             compensation has never been specifically set or established, either by written contract or otherwise.

             Plaintiff payroll practice with Defendant appears at all relevant times to have been one of absolute

             discretion, unsupported estimated, and pure whimsy. Even the written Employment Agreement

             that Plaintiff now seeks to enforce (notably coming seven (7) years after Defendant began

             employment with Plaintiff) has no recitation of compensation beyond the vague and undefined

             phrase of “some employment benefits.” To date, no articulable reason has been provided by

             Plaintiff to explain the poor treatment to which Defendant has been repeatedly subjected.

                30. In what is likely several violations of relevant tax law, Defendant was paid every year by

             Plaintiff as if Defendant were a 1099 contractor, despite the fact that Plaintiff sought to control

             several aspects of Defendant’s performance of his employment services. The Employment

             Agreement Plaintiff now seeks to enforce clearly indicates that Defendant is the employee of

             Plaintiff. However, Defendant, despite working upwards of three hundred forty (340) days per




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             calendar year, has never been paid any overtime, has been provided no employment benefits, and

             has received no compensation of any kind toward Defendant’s employment-related costs and

             expenses. Given that Defendant’s employment necessarily requires travelling with Defendant’s

             baseball teams, these costs and expenses are considerable.

                31. In fact, Plaintiff continued to expand the expectations placed upon the shoulders of

             Defendant during his employment, including travelling hundreds of miles in a single weekend for

             scouting and other coaching related events and working most days of the week while never being

             fairly compensated for his time. This occurs simultaneously with Defendant raising a young son

             as a single father. Thus, when Plaintiff approached Defendant with the Employment Agreement

             and Non-Compete Agreement it now seeks to enforce in 2020, Plaintiff was fully aware that

             Defendant had little choice other than submit to Plaintiff’s incredulous demands.

                32. In 2021, just prior to Defendant’s departure from his employment with Plaintiff,

             Defendant was struck in the face by a baseball during the course of regular practice. Despite

             having voiced his concerns regarding the dilapidated netting (and other security equipment) that

             acts as a buffer between the pitcher and the practicing batter, Defendant was repeatedly rebuffed

             by Plaintiff regarding making the obviously necessary repairs. Defendant, ever vigilant as an

             employee and coach, did his best to continue performed his employment services despite being.

             In fact, Defendant was regularly commanded to come in early to fix such equipment himself

             (despite not maintaining that professional specialty) and was given absolutely no reimbursement

             or compensation of any kind for the time, costs, labor, or materials necessary for Defendant to

             make such repairs.

                33. Defendant has now moved on to teach and coach elsewhere, but does so strictly through

             the exact methods that were exclusively created, learned, and used by Defendant outside of his




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             employment with Plaintiff. Not only has Defendant never used a trade secret or any measure of

             confidential or proprietary information belonging to Plaintiff as alleged in Plaintiff’s Original

             Petition, but these supposed trade secrets simply do not exist. Plaintiff did not create the practice

             methods learned through Defendant’s lifetime of baseball participation, nor did Plaintiff develop

             any proprietary information that assisted Defendant during his tenure with Plaintiff or that

             Defendant could commercialize outside of that tenure.

                34. The only misappropriation that has occurred in this situation is Plaintiff’s theft of

             Defendant’s time and labor without legal justification or lawful consideration. Plaintiff has

             committed a litany of legal violations through its unlawful employment practices toward

             Defendant for which Defendant has a lawful right or redress, recovery, and recompense. In order

             to recover the significant damages Defendant suffered due to Plaintiff’s wrongful actions,

             Defendant now brings the following counterclaims against Plaintiff.

                               COUNTERCLAIMS RELATING TO VIOLATIONS OF
                                    THE FAIR LABOR STANDARDS ACT
                35. Defendant’s counterclaims arise under the Fair Labor Standards Act of 1938, 29 U.S.C.

             §§ 201-219 (“FLSA”). The FLSA was enacted to eliminate “labor conditions detrimental to the

             maintenance of the minimum standard of living necessary for health, efficiency, and general well-

             being of workers.” 29 U.S.C. § 202(a). To achieve its humanitarian goals, the FLSA defines

             appropriate pay deductions and sets overtime pay, minimum wage, and recordkeeping

             requirements for covered employers. 29 U.S.C. §§ 206(a), 207(a), 211(c).

                36. Plaintiff violated the FLSA by employing Defendant and other similarly situated non-

             exempt employees at a rate below minimum wage. 29 U.S.C. §206 (a)(1)(C). Defendant also

             violated the FLSA by employing Plaintiff and other similarly situated non-exempt employees “for

             a workweek longer than forty hours [but refusing to compensate them] for [their] employment in



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             excess of [forty] hours … at a rate not less than one and one-half times the regular rate at which

             [they are or were] employed.” 29 U.S.C. § 207(a)(1).

                37. Plaintiff further violated the FLSA by failing to maintain accurate time and pay records

             for Defendant and other similarly situated non-exempt employees as required by 29 U.S.C. §

             211(c) and C.F.R. pt. 516.

                38. Defendant re-alleges the allegations contained in the preceding paragraphs of this First

             Amended Answer and Original Counterclaims as if set forth verbatim herein.

                39. During Defendant’s employment with Plaintiff, Defendant was a non-exempt employee.

             As a non-exempt employee, Plaintiff was legally obligated to pay Defendant for the hours he

             worked at minimum wage. 29 U.S.C. § 206(a)(1). Plaintiff failed to pay Defendant for the hours

             he worked at the minimum wage. Specifically, the wages (after considering the failure to set a

             specific wage and extending Defendant’s working hours to drop any supposed hourly wage to an

             unlawful level) was less than the minimum wage in violation of 29 U.S.C. § 206(a)(1).

                40. If Plaintiff classified Defendant as exempt from the minimum wage requirements of the

             FLSA, he was misclassified because no exemption excuses Plaintiff’s non-compliance with the

             minimum wage requirements of the FLSA.

                41. Plaintiff knew or showed a reckless disregard for whether Plaintiff’s pay practices

             violated the minimum wage requirements of the FLSA, and thereby willfully violated the

             minimum wage requirement of the FLSA.

                                          FAILURE      TO   PAY OVERTIME
                42. Defendant re-alleges the allegations contained in the preceding paragraphs of this First

             Amended Answer and Original Counterclaims as if set forth verbatim herein.

                43. During Defendant’s employment with Plaintiff, Defendant was a non-exempt employee.

             As a non-exempt employee, Plaintiff was legally obligated to pay Defendant “at a rate not less


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             than one and one-half times the regular rate at which [Defendant was] employed” for the hours

             that Defendant worked in excess of forty (40) hours per week. 29 U.S.C. § 207(a)(1). Plaintiff

             did not pay Defendant overtime for the hours Defendant worked in excess of forty (40) hours per

             week as required by 29 U.S.C. § 207(a)(1).

                44. Instead, Plaintiff either did not pay Defendant for all the hours Defendant worked and/or

             manipulated Defendant’s wages to reflect fewer hours than Defendant actually worked, resulting

             in Defendant being paid at less than one and one-half times Defendant’s regular rate for the hours

             Defendant worked in excess of forty (40) hours per week.

                45. If Plaintiff classified Defendant as exempt from the overtime requirements of the FLSA,

             Defendant was misclassified because no exemption excuses Plaintiff’s non-compliance with the

             overtime requirements of the FLSA.

                46. Plaintiff knew or showed a reckless disregard for whether Plaintiff’s pay practices

             violated the overtime requirements of the FLSA, and thereby willfully violated the overtime

             requirements of the FLSA.C.

                            FAILURE        TO   MAINTAIN ACCURATE RECORDS
                47. Defendant re-alleges the allegations contained in the preceding paragraphs of this First

             Amended Answer and Original Counterclaims as if set forth verbatim herein.

                48. The FLSA requires employers to keep accurate records of hours worked by their

             employees and the waged paid to their non-exempt employees. 29 U.S.C. § 211(c); 29 C.F.R. pt.

             516. In addition to the pay violation of the FLSA described in the preceding paragraphs, Plaintiff

             further failed to keep proper records of the hours worked by Defendant and the waged paid to

             Defendant as required by the FLSA.




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                                   COLLECTIVE ACTION ALLEGATIONS
                49. Defendant re-alleges the allegations contained in the preceding paragraphs of this First

             Amended Answer and Original Counterclaims as if set forth verbatim herein.

                50. On information and belief, other employees have been victimized by Plaintiff’s violations

             of the FLSA as described above. These other employees are similarly situated to Defendant

             because, during the relevant time period, they were in the same or similar position, were

             compensated in the same or similar manner, were subject to the same pay practice or policy of

             Plaintiff, and were denied all their regular wages and overtime wages at one and one-half times

             their regular wages for all hours worked in excess of forty (40) hours per week.

                51. Plaintiff’s policy or practice of failing to pay the entirety of its employees’ overtime

             compensation is a generally applicable policy or practice and does not depend on the personal

             circumstances or position of the putative class members. Since, on information and belief,

             Defendant’s experiences are typical of the experiences of the putative class members, collective

             action treatment is appropriate.

                52. All employees of Plaintiff, regardless of their individual rates of pay, who were not paid

             at the minimum wage for all hours worked and/or at a rate not less than one and one-half times the

             regular wages at which they were employed for hours worked in excess of forty (40) per week are

             similarly situated. Although the issue of damages may be individual in character, there is no

             detraction from the common nucleus of liability facts. The class is therefore properly defined as:

                          All hourly employees who worked for Plaintiff within the last nine (9) years.


                53. Plaintiff is liable to Defendant and the members of the putative class for the difference

             between what Plaintiff actually paid them and what Plaintiff was legally obligated to pay them.

             Because Plaintiff knew and/or showed a reckless disregard for whether its pay practices violated

             the FLSA, Plaintiff owes Defendant and the member of the putative class their unpaid overtime


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             wages for at least the last nine (9) years. Plaintiff is liable to Defendant and the members of the

             putative class in an amount equal to their unpaid overtime wages as liquidated damages. Plaintiff

             is liable to Defendant and the members of the putative class for their reasonable attorney’s fees

             and costs.

                54. Defendant has retained counsel well-versed in FLSA collective action litigation and who

             are prepared to litigate this matter vigorously on behalf of Defendant and all other putative class

             members.

                                         DECLARATORY JUDGEMENT
                                               (Unrelated to the Fair Labor Standards Act)

                55. Defendant re-alleges the allegations contained in the preceding paragraphs of this First

             Amended Answer and Original Counterclaims by reference as if set forth verbatim herein:

                56. Pursuant to TEX. CIV. PRAC. & REM. CODE §37.001, Defendant is entitled to a

             judicial declaration of rights, status, and other legal relations with respect to the Employment

             Agreement and Non-Compete Agreement, respectively, and any other agreements between

             Plaintiff and Defendant.

                57. The court should declare that:

                              a.   The Employment Agreement is unenforceable as a matter of law and

                          Defendant is not bound by the terms and provisions of same;

                              b.   The Non-Compete Agreement is unenforceable for failure of consideration,

                          unconscionability, and as a matter of law and Defendant is not bound by the terms

                          and provisions of same;

                              c.   Plaintiff owes and is bound to pay Defendant for substantial unpaid

                          overtime over the course of nine (9) years, where Defendant regularly worked in




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                          excess of forty (40) hours a week and was unfairly compensated in each and every

                          pay period therein;

                              d.      Defendant has not stolen any proprietary and/or confidential information,

                          intellectual property, or trade secrets of Plaintiff and Defendant’s continuing to utilize

                          the coaching techniques, tactics, and methods that were exclusively developed and

                          exercised by Defendant does not infringe on the intellectual property rights of

                          Plaintiff; and

                              e.      Plaintiff must cease all harassment of Defendant and not interfere with the

                          business relations or the procurement of clients by Defendant outside of Plaintiff’s

                          business.


                                                          VI
                                                 CONDITIONS PRECEDENT
                58. All conditions precedent to Defendant’s counterclaims against Plaintiff have been

             performed or have occurred.

                59. Defendant asks for a trial by jury to the extent permitted by law pursuant to Tex. R. Civ.

             P. § 216 and tenders herewith the required jury fee.

                60. Defendant seeks monetary and non-monetary relief in excess of Two Hundred Fifty

             Thousand and 00/100 dollars ($250,000.00) in damages as a result of the causes of action set forth

             herein. The jury, however, may set a damage amount as they determine as the sole arbiter of the

             award for the egregious and outrageous conduct of Plaintiff.

                61. Defendant also asks for pre and post-judgment interest, court costs, and attorney’s fees

             pursuant to Texas Civil Practice & Remedies Code section 38.001(8) and all other applicable law,

             including conditional awards in the event of new trial, or any appeals and, all other relief, special

             or general, at law or in equity, to which Defendant may show itself to be justly entitled.


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                 62. Defendant further seeks the declaratory relief contemplated and described herein.

                                                             VII
                                                           PRAYER
                        WHEREFORE, PREMISES CONSIDERED, Defendant and Counter-Plaintiff Cameron

             Johnson, prays that Plaintiff and Counter-Defendant Hardball Baseball Academy LLC’s claims be

             dismissed in their entirety and that it take nothing by virtue of same, and that Defendant and

             Counter-Plaintiff be awarded all requested relief herein including costs of court, reasonable and

             necessary attorney’s fees, and prejudgment and post-judgment interest. Defendant and Counter-

             Plaintiff further respectfully requests all such other and further relief, special or general, at law or

             in equity, to which it may show itself to be justly entitled.

                                                             Respectfully,

                                                             KEARNEY MCWILLIAMS & DAVIS, PLLC


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                                      CERTIFICATE OF SERVICE

             The undersigned hereby certifies the foregoing was served on April 7, 2022 in accordance with
             the Texas Rules of Civil Procedure upon the following:

             Via E-service:
             Jay Aldis
             Gray Reed
             1300 Post Oak Blvd., Suite 2000
             Houston, Texas 77065



                                                       /s/ D e b o r a h L . C r a i n
                                                       Deborah L. Crain
             ]




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                                                  CAUSE NO. 2022-08824

             HARDBALL BASEBALL ACADEMY                          §                IN THE DISTRICT COURT OF
             LLC                                                §
             Plaintiff,                                         §
                                                                §
             V.                                                 §                     HARRIS COUNTY, TEXAS
                                                                §
             CAMERON JOHNSON                                    §
                                                                §
             Defendant.                                         §                61 S T JUDICIAL DISTRICT


                               UNSWORN DECLERATION OF CAMERON JOHNSON



                        “My name is Cameron Johnson. I am more than eighteen years of age, of sound mind,

             and fully competent to make this declaration. My address is 444 East Medical Center Blvd., #1008,

             Webster, Texas 77598. I have personal knowledge of the matters set forth below and they are true

             and correct under penalty of perjury and based on my own personal knowledge.”

                  1.    I am a baseball coach. I have played baseball my entire life, and the majority of what I

             have learned about the sport and how to teach others how to play comes from what my father,

             Richard Johnson, taught me.

                  2.    My father was a professional baseball player and played for the Houston, Astros.

                  3.    After he stopped playing professionally, he worked part time for Hardball Baseball

             Academy. He stopped working there in 2018.

                  4.    I attended Lamar University where I also played baseball and I had many great baseball

             coaches over the years, not including my father.

                  5.    In 2013, I started with Hardball Baseball Academy as a baseball coach. Following my

             father’s legacy and all of his training, I also wanted to coach after I finished playing baseball. I am

             not only skilled in baseball naturally and through extensive, lifelong training, it is also my passion

             and my calling. I absolutely love working with kids and young adults to help them improve their
                                                                                                            1 | Page

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             game.

                 6.     When I was told by Mr. Beard that I had to sign those documents to keep my job, I went

             along with it, but was never provided any additional “consideration” as he has claimed.

                 7.     I am the one who brought the needed skillset to the Academy. I am the one who

             developed all of the training curriculum for my students and was never once trained by Richie

             Beard or anyone else at Hardball with any proprietary training methods or shown techniques I had

             already seen taught by many other coaches all over Texas. Hardball did not bring anything new to

             the table, so to speak.

                 8.     I used my own methodology of training; no methodology of Hardball was ever given or

             taught to me.

                 9.     I also developed my own dedicated client base using my own personal social media

             accounts. I have only been provided a handful of clients through the Academy or from Mr. Beard

             over the years, as my schedule permitted. My own, self-sourced clients filled my schedule entirely

             due to my personal reputation, word-of-mouth, and social media accounts.

                 10.    I do not possess any confidential documents or information that belonged to Hardball. In

             fact, the pricing for Hardball Baseball Academy is posted on their website for the world to see.

                 11.    Ultimately, I left Hardball because Mr. Beard did not honor his commitments and

             promises to me. I was not paid for tryouts. He simply made up what he wanted to pay me for

             tournaments and extensive travel. There were weekends where I would be forced to travel

             hundreds of miles for tournaments and was not compensated fairly for my time, effort, and

             expertise. I was not paid for my gas mileage on these longer trips, given any stipends for food, and

             was not given any benefits whatsoever—even though I was promised I would get benefits.

                 12.    Also, there would be times where clients would complain about the lack of quality of the




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             facility at Hardball Baseball Academy that was dirty and lacked proper safety protocols and

             equipment, such as screen nets that protect others from getting hit by high-speed baseballs. I,

             myself, was struck in the face by a ball because of the poor netting, I was lucky I was not seriously

             injured. The client I have had over the years came to see me for my quality of teaching, despite

             the lack of quality of the facility I happened to work in.

                13.     As a single dad who has sole custody of his son, I could not afford to take care of my son

             and keep working there.

                14.     Last year, I was only paid around $38,000.00. I was not paid for any overtime for the

             hours I worked over the weekends last year, and some years I would clock in over 340 days.

                15.     I personally read each statement in Defendant’s Original Answer and the facts stated

             therein are true and correct.

                16.     My date of birth is August 7, 1989.

                Further declarant sayeth not.”


                                     02 / 14 / 2022
                      SIGNED on                               , 2022.




                                                                        Cameron Johnson




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         Title
                                    2022.02.14 Cameron Johnson Declaration.pdf
         File Name
                                2022.02.14%20Came...20Declaration.pdf
         Document ID
                              dc36acf3af701c059b11a6ab0f971c17ff98a60d
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                                                  CAUSE NO. 2022-08824

             HARDBALL BASEBALL ACADEMY                        §                IN THE DISTRICT COURT OF
             LLC                                              §
             Plaintiff,                                       §
                                                              §
             V.                                               §                    HARRIS COUNTY, TEXAS
                                                              §
             CAMERON JOHNSON                                  §
                                                              §
             Defendant.                                       §                61 S T JUDICIAL DISTRICT


                                UNSWORN DECLERATION OF RICHARD JOHNSON



                        “My name is Richard Johnson. I am more than eighteen years of age, of sound mind, and

             fully competent to make this declaration. My address is 818 Kentucky Street, Deer Park, Texas

             77536. I have personal knowledge of the matters set forth below and they are true and correct

             under penalty of perjury and based on my own personal knowledge.

                  1.    I am Cameron Johnson’s father. I am a graduate of Sam Houston State University with a

             B.S. in Chemistry and a minor in Mathematics, 4-year lettermen in baseball and 2003 Hall of

             Honor inductee in Athletics.

                  2.    I was drafted by the Houston Astros in 1985 and played three and a half years of

             professional baseball and advancing to the AA level.

                  3.    I personally coached Cameron until he reached high school, where I transitioned into a

             role of consultant and mentor for him.

                  4.    Cameron’s base knowledge of baseball came from years and years of getting coached

             and traveling across the state of Texas playing high school select baseball.

                  5.    Playing under the tutelage of Curt Blount, who was a former assistant at the University

             of Houston prior to coaching the Houston Indians, also helped mold him into the instructor he later

             became—before starting at Hardball Baseball Academy.
                                                                                                         1 | Page

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                  6.     His high school team coach, Sean Wood, also had a major influence on my son.

                  7.     Cameron and I, to this day, still debate hitting mechanics, style, and the overall approach

             to be a sound hitter, how no two accomplished hitters are exactly the same, and trade many social

             media discussions on how completely different body types get the job done in different ways. All

             this is part of his development of his coaching techniques and methods.

                  8.     His instructing style and knowledge has become his own and he has become very good

             at it.

                  9.     I attend some of his select team games and personally see how respected he is by his

             students and their parents and how he has developed very close relationships with a great many of

             them.

                  10.    Like my son, I worked at Hardball Baseball Academy from the early 2000’s until 2018.

             I left due to a work project where I was away from home for a few weeks per month.

                  11.    I gave instruction as the Dickinson location and conducted lessons based on my own

             knowledge and experience and structured my lessons based on what my eyes told me that the

             student needed—and no instruction was provided to me by the Academy. I was the professional

             hired for my experience, not the other way around.

                  12.    Any trainings that were conducted by the Academy to the instructors were generic and

             was nothing any of the instructors had not already seen elsewhere.

                  13.    Hardball Academy also provided me with little to no clients. The students that Hardball

             sometimes provided, while rare, were older, more experienced ones where my professional player

             history played a role. However, the vast majority of my lessons were by word-of-mouth referrals

             due to the success my students were having.

                  14.    When I left in 2018, most of my students wanted to transfer to my son Cameron because




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             we were often teaching at the same time and taught in a similar, you could say “Johnson Family”

             style by stressing athleticism and being able to convey and tailor techniques in multiple ways to

             fit our many different students.

                15.     During my time at Hardball, Richie Beard was seldom at the Dickinson facility. The only

             time I would see Mr. Beard was either at clinics or our yearly meetings where we would discuss

             the timing for submission of the instructors’ monthly invoices and entering our monthly lesson

             schedule, as well as summer teams planning. The meetings focused on typical administrative tasks

             as every business does, not the actual game of baseball and its instruction.

                16.     I do not remember a time when Hardball Baseball Academy provided any instructor with

             any tangible knowledge of the game of baseball or how to teach it—and certainly not with myself

             or my son Cameron.

                17.     My date of birth is February 7, 1963.

                Further declarant sayeth not.”


                                     02 / 14 / 2022
                      SIGNED on                            , 2022.




                                                                     Richard Johnson




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                                    2022.02.14 Richard Johnson Declaration.pdf
         File Name
                                2022.02.14%20Rich...20Declaration.pdf
         Document ID
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        Shannon Frizzell on behalf of Deborah Crain
        Bar No. 24067319
        sfrizzell@kmd.law
        Envelope ID: 63364272
        Status as of 4/7/2022 1:08 PM CST

        Case Contacts

         Name               BarNumber   Email               TimestampSubmitted    Status

         Deborah Crain      24067319    dcrain@KMD.law      4/7/2022 1:03:09 PM   SENT

         Jay Ronald Aldis   785656      jaldis@grayreed.com 4/7/2022 1:03:09 PM   SENT

         Jamison BWalters               jwalters@kmd.law    4/7/2022 1:03:09 PM   SENT

         Shannon Frizzell               sfrizzell@kmd.law   4/7/2022 1:03:09 PM   SENT

         Bradley Nevills                bnevills@kmd.law    4/7/2022 1:03:09 PM   SENT




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                                                                                          Marilyn Burgess - District Clerk Harris County
                                                                                                               Envelope No. 63475406
                                                                                                                   By: Brenda Espinoza
                                                                                                            Filed: 4/11/2022 11:54 PM

                                                CAUSE NO. 2022-08824

             HARDBALL BASEBALL                             §             IN THE DISTRICT COURT OF
             ACADEMY, LLC,                                 §
             Plaintiff,                                    §
                                                           §
             V.                                            §             61ST JUDICIAL DISTRICT
                                                           §
             CAMERON JOHNSON,                              §
             Defendant.                                    §             HARRIS COUNTY, TEXAS


                             CERTIFICATE OF WRITTEN DISCOVERY

                    Defendant Cameron Trent Johnson files this Certificate of Written Discovery in the above-

             entitled and numbered cause directed to Plaintiff in the above-entitled and numbered cause

             pursuant to the applicable local rule and states that the discovery set forth below was served on

             April 11, 2022 by and through its attorney of record, Jay Aldis of Gray Reed, 1300 Post Oak

             Boulevard, Suite 2000, Houston, Texas 77065 as follows:

                        1)   Defendant’s Initial Disclosures;
                        2)   Defendant’s Responses and Objections to Plaintiff’s First Requests for
                             Production;
                        3)   JOHNSON 000001 – 330.

                                                         Respectfully submitted,
                                                         K E AR N E Y , M C W I L L I A M S & D A VI S , PLLC


                                                         Deborah L. Crain
                                                         Deborah L. Crain
                                                         Bar Card No.: 24067319
                                                         dcrain@kmd.law
                                                         Jamison B. Walters
                                                         Bar Card No.: 24098573
                                                         jwalters@kmd.law
                                                         550 Waugh Drive, #150
                                                         Houston, Texas 77007
                                                         (713) 936-9620
                                                         Counsel for Defendant


             Matter No. 55106-1                                                                            1 | Page

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                                             CERTIFICATE OF SERVICE

             The undersigned hereby certifies the foregoing was served on April 11, 2022 in accordance with
             the Texas Rules of Civil Procedure upon the following:

             Via Email – jaldis@grayreed.com:
             Jay Aldis
             Gray Reed
             1300 Post Oak Boulevard, Suite 2000
             Houston, Texas 77065




                                                        Deborah L. Crain
                                                        Deborah L. Crain




             Matter No. 55106-1                                                                   2 | Page

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        Envelope ID: 63475406
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        Case Contacts

         Name               BarNumber   Email               TimestampSubmitted      Status

         Deborah Crain      24067319    dcrain@KMD.law      4/11/2022 11:54:42 PM   SENT

         Jay Ronald Aldis   785656      jaldis@grayreed.com 4/11/2022 11:54:42 PM   SENT

         Bradley Nevills                bnevills@kmd.law    4/11/2022 11:54:42 PM   SENT

         Jamison BWalters               jwalters@kmd.law    4/11/2022 11:54:42 PM   SENT

         Shannon Frizzell               sfrizzell@kmd.law   4/11/2022 11:54:42 PM   SENT




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                              EXHIBIT B




4864-4704-6171.1
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                                                  Harris County Docket Sheet


2022-08824
COURT: 061st
FILED DATE: 2/11/2022
CASE TYPE: Non-Competition

                              HARDBALL BASEBALL ACADEMY LLC
                                              Attorney: ALDIS, JAY RONALD

                                                            vs.
                                            JOHNSON, CAMERON
                                           Attorney: CRAIN, DEBORAH LOUISE


                                                        Trial Settings
         Date           Comment
        2/6/2023        Docket Set For: Trial Setting


                                                   Docket Sheet Entries
             Date       Comment
        2/15/2022       CASO - ORDER SIGNED SETTING HEARING

        2/15/2022       TRORY - ORDER SIGNED DENYING TEMPORARY RESTRAINING ORDER

        3/3/2022        CASO - ORDER SIGNED SETTING HEARING

        4/4/2022        CASO - ORDER SIGNED SETTING HEARING




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                              EXHIBIT C




4864-4704-6171.1
      Case 4:22-cv-01181 Document 1 Filed on 04/12/22 in TXSD Page 97 of 97




                          LIST OF ALL COUNSEL OF RECORD

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                                    Texas State Bar No. 00785656
                                   1300 Post Oak Blvd., Suite 2000
                                        Houston, Texas 77056
                                    Telephone:      (713) 986-7175
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    2. Counsel for Defendant – Cameron Johnson

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                                      Fax: (713) 533-8055




4864-4704-6171.1
